Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 1 of 32




              EXHIBIT 1
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 2 of 32




                                                                    83
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 3 of 32



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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 4 of 32




         Part VII State jurisdiction, 21 Jurisdictional
         competence
         James Crawford SC, FBA

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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 5 of 32



  (p. 440) 21 Jurisdictional competence
  1. Overview
  Jurisdiction is an aspect of sovereignty: it refers to a state’s competence under international
  law to regulate the conduct of natural and juridical persons.1 The notion of regulation
  includes the activity of all branches of government: legislative, executive, and judicial.2
  Although the state is conceived of in international law as a single unit, for the purposes of
  analysing jurisdiction and its limits some distinctions are usually made. On the one hand, is
  the power to make laws, decisions, or rules (prescriptive jurisdiction); on the other, is the
  power to take executive or judicial action in pursuance of or consequent on the making of
  decisions or rules (respectively enforcement or adjudicative jurisdiction).3
  The starting point in this part of the law is the presumption that jurisdiction (in all its
  forms) is territorial, and may not be exercised extraterritorially without some specific basis
  in international law.4 However, the territorial theory has been refined in the light of
  experience and what amounts to extraterritorial jurisdiction is increasingly (p. 441) a
  matter of appreciation. If there is a cardinal principle emerging, it is that of genuine
  connection between the subject matter of jurisdiction and the territorial base or reasonable
  interests of the state in question.5 It should be stressed that this sufficiency of grounds for
  jurisdiction is normally considered relative to the rights of other states. Thus, jurisdiction
  may be exercised over stateless persons, or over non-nationals by agreement with the state
  of nationality; jurisdiction can also be exercised over foreign nationals on other grounds.
  There is no assumption (even in criminal cases) that individuals or corporations can be
  regulated only once, and situations of multiple jurisdictional competence occur frequently.
  In such situations, there is no ‘natural’ regulator and the consequences of multiple laws
  applying to the same transaction are managed rather than avoided—double taxation being a
  case in point.6

  2. Prescriptive Jurisdiction over Crimes
  (A) General bases of jurisdiction
  The discussion which follows concerns the general principles for determining whether a
  state may prescribe acts as criminal under municipal law.7 The question emerged as a
  distinct one only after about 1870,8 and the appearance of clear principles has been
  retarded by the prominence in the sources of municipal decisions, which exhibit empiricism
  and adherence to national policies. The early structure of prescriptive criminal jurisdiction
  was provided by the Permanent Court in Lotus. That case concerned a collision on the high
  seas between a French steamer and a Turkish collier which then sank and Turkish crew
  members and passengers lost their lives. The French steamer having put into port in Turkey
  for repairs, the officers of the watch were tried and convicted of involuntary manslaughter.
  On the question of jurisdiction in general, the Permanent Court said:

        Far from laying down a general prohibition to the effect that States may not extend
        the application of their laws and the jurisdiction of their courts to persons, property
        or acts outside their territory, [international law] leaves them in this respect a wide
        measure of discretion which is only limited in certain cases by prohibitive rules; as
        regards other cases, every State remains free to adopt the principles which it
        regards as best and most suitable.9




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 6 of 32

  (p. 442) This passage has been much criticized.10 The Court’s specific decision was
  reversed by treaty.11 Its general emphasis on plenary state discretion is contradicted by the
  approach taken in Anglo-Norwegian Fisheries12 and Nottebohm,13 which concerned
  comparable competences of states, respectively, to delimit the territorial sea and to confer
  nationality on individuals: we may call them regulatory competences. Following Arrest
  Warrant,14 there are hints that Lotus has been reversed: if a state wishes to project its
  prescriptive jurisdiction extraterritorially, it must find a recognized basis in international
  law for doing so. This shift in focus is, however, largely cosmetic, and in general the
  Permanent Court’s statement that ‘all that can be required of a State is that it should not
  overstep the limits which international law places upon its jurisdiction; within these limits,
  its title to exercise jurisdiction rests in its sovereignty’ remains correct.15
  (i) The territorial principle
  The principle that the courts of the place where the crime is committed may exercise
  jurisdiction is universally recognized.16 It is a reflection of the essential territoriality of
  sovereignty. In the case of crime, the principle has a number of practical advantages,
  including the convenience of the forum and the presumed involvement of the interests of
  the state where the crime was committed. The territorial principle has been given an
  extensive application. In the first place, there is subjective territoriality, which creates
  jurisdiction over crimes commenced within the state even if completed or consummated
  abroad.17 Generally accepted and often applied is the objective territorial principle,
  according to which jurisdiction is founded when any essential constituent element of a
  crime is consummated on the forum state’s territory.18 The classic illustration is the firing of
  a gun across a border causing death on the territory of the forum, but the principle can be
  employed to found jurisdiction in cases of conspiracy19 or violation (p. 443) of antitrust20 or
  immigration laws21 by activity abroad, and in many other fields of policy.22 The effect of the
  two principles combined is that whenever the constituent elements of a crime occur across
  an interstate boundary both states have jurisdiction.
  The objective principle received general support in the Lotus; what was controversial was
  its application to collisions in international waters. France contended that the flag state
  alone had jurisdiction over acts performed on board on the high seas. Turkey argued, inter
  alia, that vessels on the high seas were to be considered part of the territory of the flag
  state. By the casting vote of the President, the Court decided that Turkey had not acted in
  conflict with the principles of international law by exercising criminal jurisdiction. The basis
  of the majority view (with which Judge Moore concurred) was the principle of objective
  territorial jurisdiction. The principle was familiar but to apply it the Court had to assimilate
  the Turkish vessel to Turkish national territory.23 This crucial step did not attract a majority,
  and is out of line with subsequent developments.
  (ii) The nationality principle
  Nationality, as a mark of allegiance and an aspect of sovereignty, is also recognized as a
  basis for jurisdiction over extraterritorial acts.24 The application of the principle may be
  extended by reliance on residence25 and other connections as evidence of allegiance owed
  by aliens,26 and also by ignoring changes of nationality.27 For example, the UK legislature
  has conferred jurisdiction on its courts in respect of, inter alia, treason,28 (p. 444) murder,29
  bigamy,30 soccer hooliganism,31 child sexual abuse,32 and breaches of the Official Secrets
  Acts33 wherever committed by British nationals or residents.
  The territorial and nationality principles (as well as the increasing incidence of dual
  nationality) create parallel jurisdictions and possible double jeopardy, and many states
  place limitations on the nationality principle,34 for example, by confining it to serious
  offences.35 But such limitations are not required by international law.36 Nationality provides




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 7 of 32

  the primary criterion for criminal acts in locations such as Antarctica, where the ‘territorial’
  criterion is not generally recognized.37
  For nationality jurisdiction, it is often asserted that the person over whom the state
  purports to exercise its prescriptive jurisdiction must have been a national at the time of
  the offence. Otherwise, it is argued, a violation of the principle of nullum crimen sine lege
  could occur. However, state practice is varied, with some states providing for nationality
  jurisdiction over persons who subsequently acquire their nationality.38
  (iii) The passive personality principle
  If the nationality head of jurisdiction may be characterized as one of ‘active personality’, the
  reverse of the coin is ‘passive personality’.39 According to this principle, aliens may be
  punished for acts abroad harmful to nationals of the forum. This is considerably more
  controversial, as a general principle, than the territorial and nationality principles. In
  Cutting, a Mexican court exercised jurisdiction in respect of the publication by a US citizen
  in a Texas newspaper of matter defamatory of a Mexican citizen. The (p. 445) court applied
  the passive nationality principle among others. This led to diplomatic protests from the US,
  although the outcome was inconclusive.40
  In Lotus, the Turkish penal code provided for punishment of acts abroad by foreigners
  against Turkish nationals; in effect, it was a comprehensive exercise of passive personality
  jurisdiction. The Court declined to assess the law as such. The question was whether or not
  the specific factual situation fell within Turkish jurisdiction;41 it held that it did, invoking
  the protective principle.42 Judge Moore, in a separate opinion, agreed with the majority as
  to the outcome but expressly rejected the protective principle.43
  The US Antiterrorism Act of 199144 provides for the jurisdiction of US district courts for
  injuries caused to US citizens by acts of international terrorism.45 Yet, courts have
  understood that after Daimler46 a substantial amount of business in the forum jurisdiction is
  not enough. In Waldman, the Second Circuit articulated the test as whether the defendant
  can be ‘fairly regarded as at home’ in the forum and found that the Palestinian Authority’s
  promotional activities in Washington DC were not sufficient for this purpose. The court also
  declined to find specific personal jurisdiction for activities outside the US ‘which affected
  US citizens only as victims of indiscriminate violence abroad’.47
  The passive personality principle has been much criticized.48 One early complaint was that
  it served no wider goal of criminal justice: it did not correspond to a domestic
  conceptualization of jurisdiction, would not close an enforcement gap and lacked any social
  aim of repression.49 There is also concern that it could expose individuals to a large number
  of jurisdictions.50 Such objections have not, however, prevented the development of
  something approaching a consensus on the use of passive personality in certain cases, often
  linked to international terrorism.51 Moreover, aut dedere aut (p. 446) judicare provisions in
  most criminal law treaties authorize the use of passive personality jurisdiction as between
  states parties.52
  (iv) The protective or security principle
  Nearly all states assume jurisdiction over aliens for acts done abroad which affect the
  internal or external security or other key interests of the state,53 a concept which takes in a
  variety of offences not necessarily confined to political acts.54 Currency, immigration, and
  economic offences are frequently punished. The UK and the US allow significant exceptions
  to the doctrine of territoriality, although without express reliance on the protective
  principle. Thus, courts have punished aliens for acts on the high seas concerning illegal
  immigration,55 and perhaps considerations of security helped the House of Lords in Joyce v
  Director of Public Prosecutions56 to decide that an alien who left the country in possession
  of a British passport owed allegiance and was accordingly guilty of treason when he
  subsequently broadcast propaganda for Germany in wartime. Insofar as the protective


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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 8 of 32

  principle rests on the protection of concrete interests, it is sensible enough, but the
  interpretation of the concept of ‘protection’ may vary widely. For example, the protective
  principle was invoked in the Eichmann case in relation to the Jewish victims of the
  accused,57 despite the fact that Israel was not a state when the offences in question
  occurred.58
  The categories of what may be considered a vital interest for the purposes of protective
  jurisdiction are not closed,59 and no criteria exist for determining such interests beyond a
  vague sense of gravity. Ultimately, the identification of exorbitant jurisdiction may be a
  matter of knowing it when one sees it.60
  (p. 447) (v) The effects doctrine
  In addition, it has been suggested that there exists a further head of prescriptive
  jurisdiction, the so-called ‘effects doctrine’.61 This may gain traction where an
  extraterritorial offence causes some harmful effect in the prescribing state, without actually
  meeting the criteria of territorial jurisdiction or representing an interest sufficiently vital to
  the internal or external security of the state in question to justify invoking the protective
  principle.
  While controversial, the doctrine is not objectionable in all cases.62 It was at least
  acknowledged by the majority in the Lotus63 and by certain members of the International
  Court in Arrest Warrant.64 Today, ‘effects’ or ‘impact’ jurisdiction is practised largely by the
  US and, with greater qualifications, by the EU.65 In Alcoa, for example, Judge Learned Hand
  stated that it was ‘settled law’ that ‘any state may impose liabilities, even upon persons not
  within its allegiance, for conduct outside its borders which has consequences within its
  borders which the state reprehends’,66 a position since followed extensively in US antitrust
  jurisprudence.67
  Since Alcoa, the effects doctrine and its expansion have, in many cases, been driven by the
  US approach to jurisdiction. Whereas previously this resembled closely the conception of
  various heads of prescriptive jurisdiction, it has now changed its perspective; it is possible
  to speak of antitrust jurisdiction, tort jurisdiction, and taxation jurisdiction, with some of
  these having a broader extraterritorial reach than others. This has the potential to muddy
  the waters, resulting in the uncertain position of the effects doctrine within international
  law as either a head of prescription in its own right, or a subject-driven application of the
  territorial or protective principles with unusual reach. These policies have provoked
  reactions from a number of foreign governments. The UK68 and other states, as well as the
  EU,69 have enacted legislation to provide defensive (p. 448) measures against US policy.
  Similar episodes have arisen as a result of the application of the US Export Administration
  Act, for example, in the face of US measures directed against non-US corporations involved
  in contracts relating to the construction of the West Siberian pipeline.70 Both the European
  Community71 and the UK72 protested and asserted the illegality of the actions of US
  authorities intended to prevent the re-export of machinery of US origin and the supply of
  products derived from US data. But it must be noted that competition legislation in several
  European states is based on principles similar to those adopted in the US.73 Moreover, the
  Court of Justice has applied a principle similar to the US ‘effects doctrine’ in respect of
  company subsidiaries74 and the Advocate-General espoused this view in his Opinion in the
  Woodpulp Cases.75 In any event, US legislation has continued to provoke protests from the
  EU and from individual states.76 This legislation includes the Cuban Democracy Act
  (1992),77 the D’Amato–Kennedy Act (1996),78 and the Helms–Burton Act (1996).79




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 9 of 32

  (p. 454) (iv) Treaty-based quasi-universal jurisdiction
  Another, more restricted, form of quasi-universal jurisdiction arises from sui generis treaty
  regimes incorporating penal characteristics.116 These regimes have for the most part been
  developed in order to respond to particular conduct viewed as undesirable; they require
  states parties to exercise mandatory prescriptive jurisdiction over certain individuals within
  their territories, independent of any ordinary nexus. They are frequently characterized by
  the obligation of aut dedere aut judicare, which will compel a state party to either try the
  accused or extradite to a state that is willing to do so.117
  An example118 arises in the context of the Convention for the Suppression of Unlawful
  Seizure of Aircraft (Hague Convention).119 This provides in Article 4(2) that:

        Each Contracting State shall likewise take such measures as may be necessary to
        establish its jurisdiction over the offence in the case where the alleged offender is
        present in its territory and it does not extradite him pursuant to Article 8 to any of
        the States mentioned in paragraph 1 of this Article.

  This formula has been applied, more or less identically, in a considerable number of
  conventions. Early examples include the aut dedere aut judicare obligations also appeared
  in the Geneva Conventions in 1949.120 Chief amongst the more recent treaties are the
  various ‘sectoral’ anti-terrorism agreements which were developed when it became clear
  that meaningful agreement on a generic definition of ‘terrorism’ was unreachable.121
  To describe the jurisdictional regime established by these treaties as ‘universal’ is a
  misnomer.122 As Ryngaert notes:

        The operation of the aut dedere requirement is indeed limited to States Parties,
        which pool their sovereignty and explicitly authorize each other to exercise
        jurisdiction over crimes committed by their nationals or on their territory.123

  (p. 455) That, however, has not prevented certain states from insisting on the application of
  sui generis bases of jurisdiction to nationals of non-states parties to the treaties in question.
  The US is notable in this regard, often exercising jurisdiction over suspected terrorists who
  are nationals of states not party to the relevant sectoral agreements.124 In Yunis, for
  example, a Lebanese national was prosecuted with respect to the hijacking of Royal
  Jordanian Airlines Flight 402 from Beirut to Amman. The plane carried several US nationals
  but was registered in Jordan, flew the Jordanian flag, and never landed on US territory or
  flew over US airspace. The court found that it had universal jurisdiction to prosecute with
  respect to the act of hijacking and the taking of hostages by the accused. Although
  jurisdiction was grounded on the fact that Lebanon was a state party to The Hague and
  Montreal Conventions, the court further held that jurisdiction was also furnished by the
  provisions of the Hostages Convention, despite the fact that Lebanon and Jordan were not
  parties to it.125

  3. Civil Prescriptive Jurisdiction
  There are different views as to the law concerning civil jurisdiction. On one view, exorbitant
  assertions of civil jurisdiction could lead to international responsibility. Further, as civil
  jurisdiction is ultimately reinforced by criminal sanctions through contempt of court, there
  is in principle no great difference between the problems created by assertion of civil and
  criminal jurisdiction over aliens.126 In particular, antitrust legislation (the source of many of
  the difficulties in practice) involves a process which, though formally ‘civil’, is in substance
  coercive and penal, as is the field of securities regulation.127 On another view, there is little
  by way of limitation on a state’s exercise of civil jurisdiction in what are effectively private




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 10 of 32

   law matters; different states assert jurisdiction on different grounds, but deference to
   foreign law through conflicts rules mitigates any exorbitant elements.

   (A) The basis of civil jurisdiction in different legal traditions
   Notwithstanding broad similarities, the different legal traditions conceive of the civil
   jurisdiction to prescribe in different ways. This division is particularly apparent when
   considering the willingness of municipal courts to exercise jurisdiction over a foreign party
   as an actualization of prescriptive jurisdiction.
   (p. 456) In order to satisfy international law standards in regard to the treatment of aliens,
   a state must in normal circumstances maintain a system of courts empowered to decide
   civil cases and, in doing so, be prepared to apply private international law where
   appropriate in cases containing a foreign element.128 Municipal courts may be reluctant to
   assume jurisdiction in cases concerning a foreign element, adhering to the territorial
   principle conditioned by the situs of the facts in issue, and supplemented by criteria
   relating to the concepts of allegiance or domicile and doctrines of submission to the
   jurisdiction (including tacit submission on the basis of ownership of property in the forum
   state).129
   As a general rule, the common law systems will assert jurisdiction over a foreign defendant
   who can be served with originating process.130 Under the most basic formulation, a writ
   may be served whenever the defendant sets foot131 or establishes a commercial presence132
   in the jurisdiction, no matter how temporarily. This exercise of jurisdiction is based on
   territorial sovereignty: since states have authority over persons present in their territory,
   common law courts exercise jurisdiction ‘as of right’ over defendants served with
   originating process within the territory.133
   Where the defendant has no such presence, a writ may nonetheless be served outside the
   jurisdiction in certain cases.134 In such cases, an originating summons may only be issued
   with leave of the court; leave depends on an assessment of the existence and strength of a
   territorial nexus to the subject matter of the cause of action.135 Jurisdiction will ordinarily
   be exercised, for example, where property in the territory forms the subject matter of the
   dispute or the defendant is domiciled or ordinarily resident there.
   Though civil lawyers complain of the perceived exorbitance of the service rule,136 common
   lawyers point out that the defendant may challenge the exercise of the jurisdiction on the
   basis that the appropriate forum for the hearing of the dispute is elsewhere.
   (p. 457) Some common law jurisdictions have extended the concept of jurisdiction further
   still. In the US, ‘minimum [territorial] contacts’137 have in the past sufficed for the purpose
   of finding jurisdiction over the defendant. The mere presence of a subsidiary of a foreign
   corporation in the US provided the necessary minimum contact for the parent corporation.
   However, this doctrine has been significantly curtailed by Daimler AG v Bauman, where the
   Supreme Court held that it would exercise jurisdiction over claims arising outside the US
   only against foreign corporations that are incorporated in the US or have their principal
   place of business there.138
   In contrast, the civil law approach to the exercise of jurisdiction is predicated on the
   principle that, where possible, the defendant ought to be sued in its domicile. This may be
   seen in EC Regulation 44/2001 on jurisdiction and the recognition and enforcement of
   judgments in civil and commercial matters (the Brussels I Regulation),139 Article 2 of which
   provides that, ‘[s]ubject to this Regulation, persons domiciled in a Member State [of the EU]
   shall, whatever their nationality, be sued in the courts of that Member State.’140 The
   Regulation, however, provides alternative bases of jurisdiction that are not so rigorously
   territorial where the defendant is already domiciled in the EU, including, inter alia, the
   locus delicti in cases of tort (Art 5(3)), in cases of contract, the place of performance of the
   obligation which has been breached (Art 5(1)(a)), the place of delivery of goods or


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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 11 of 32

   performance of services (Art 5(1)(b)), or, as regards commercial disputes arising out of the
   operations of a branch, agency, or other establishment, the place in which the branch,
   agency, or other establishment is situated (Art 5(5)).141
   In a further significant difference with the common law, the notion of discretionary refusal
   of jurisdiction is anathema to the civil law. As a general rule, if properly seised, a court is
   unable to decline jurisdiction unless expressly authorized to do so by the terms of the
   Regulation.142 For example, under Article 27, in the event of lis pendens, the court second
   seised must stay the proceedings before it in favour of the court first seised unless the
   latter determines that it lacks jurisdiction.143
   (p. 458) Whilst this approach has the virtue of certainty and consistency, its rigidity may
   lead to unfortunate practical consequences. In Owusu,144 for example, a single English
   defendant and five Jamaican defendants were sued in the English courts with respect to an
   alleged tort taking place in Jamaica. Although the forum conveniens was clearly Jamaica,
   the mandatory wording of Article 2 and the English domicile of one of the defendants
   prevented the court from declining jurisdiction.

   (B) Jurisdiction and the conflict of laws
   Conflict of laws, also known as private international law, is concerned with issues of the
   jurisdiction of national courts, the municipal law applicable to disputes with foreign
   elements, and the cross-border enforcement of judgments.145 It is usually considered to be
   merely municipal law, and a bright line is drawn between its study and the study of public
   international law. If it must be considered international law, the argument runs, then it is
   international only in the sense that it involves competing and horizontal ‘inter-national’
   claims.
   According to Mills, the adoption of an international systemic perspective on the conflict of
   laws reveals an ‘essential confluence’ of public and private international law, sharing as
   they do similar intellectual progenitors.146 Nationality, for example, is the defining
   jurisdictional principle for civil legal systems. Article 15 of the French Civil Code provides
   that ‘French persons may be called before a court of France for obligations contracted by
   them in a foreign country, even with an alien’. Passive personality is also the focus of article
   14 of the French Civil Code, which permits a foreign person to be called before the French
   courts with respect to obligations entered into with a French national.
   The influence of the territoriality principle in private international law is likewise pervasive,
   notably in common law systems where the presence of the defendant within the jurisdiction
   is sufficient to ground the court’s adjudicative power. This is controversial, for under the
   public international law conception of territoriality, the act or thing which is the subject of
   adjudicative power must be done within the jurisdiction; the subsequent presence of the
   defendant will be insufficient. That said, this perceived overreach is reduced by the use of
   forum non conveniens to decline jurisdiction where another forum is better suited to hear
   the matter; in the US, consideration of ‘reasonableness’ may also come into play.147
   Territoriality is also (less controversially) present in Article 22(1) of the Brussels I
   Regulation, which provides for the exclusive jurisdiction for certain courts, regardless of
   the defendant’s domicile, where the proceedings in question have as their object rights in
   rem in immovable property or tenancies in immovable property.

   (p. 459) (C) The alien tort statute and cognate legislation
   The universality principle, as expressed in the Eichmann case, is most often associated with
   the prosecution of heinous crimes.148 Only a few states assert universal civil jurisdiction,
   that is, prescriptive jurisdiction absent any minimal territorial or national nexus to the




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 12 of 32

   delict in question.149 The example par excellence is the US Alien Tort Claims Act 1789, now
   codified as the Alien Tort Statute (ATS).150
   The ATS provides in its relevant part that ‘[t]he district courts shall have original
   jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of
   nations or a treaty of the United States.’ Apparently enacted for the purpose of providing a
   recourse in tort for acts of piracy or the violation of safe conduct or of the rights of
   ambassadors,151 the statute fell dormant for almost two centuries before gaining modern
   importance in Filartiga v Peña-Irala,152 where the Second Circuit Court of Appeals held that
   it was to be read as incorporating current customary international law protective of
   individual rights.
   An actionable ATS violation will occur only where (1) the plaintiff is an alien, (2) the
   individual defendant153 is responsible for a tort, and (3) the tort in question violates
   international law.154 Not every violation of international law will, however, be considered
   actionable: the Supreme Court in Sosa v Alvarez-Machain, while falling short of articulating
   a coherent category, limited the scope of the statute to ‘norm[s] of an international
   character accepted by the civilized world’.155 In this sense, the ATS draws its legitimacy at
   least to some extent from the same well-spring as universal criminal jurisdiction over
   genocide, war crimes, and crimes against humanity.156
   Perhaps because of its prescriptive and procedural limitations, the ATS has been the subject
   of surprisingly little opposition.157 Whilst European states may prefer criminal or
   administrative remedies for gross human rights violations, they do not (p. 460) seem
   resistant in principle to ‘universal’ tort jurisdiction of this type, although they remain
   opposed to the perceived exorbitance of the US regime of civil jurisdiction in personam.158
   The extraterritorial reach of the ATS was significantly reduced by the Supreme Court in
   Kiobel. Relying on the presumption against extraterritoriality, the Court determined that the
   ATS would apply to a claim based on extraterritorial conduct only if it could be shown to
   ‘touch and concern’ the US. Further, the Court held that:

         even where the claims touch and concern the territory of the United States, they
         must do so with sufficient force to displace the presumption against extraterritorial
         application.159

   The ‘mere corporate presence’ of the defendants in the US was held to be insufficient to
   meet this test in a case where the conduct complained of occurred in Nigeria only. Beyond
   this, Kiobel offers no further clarification as to the circumstances that would meet the
   ‘touch and concern’ with ‘sufficient force’ test.160 This leaves open the extent to which the
   ATS has been narrowed. Kiobel has been strongly criticized, and is certainly not the last
   word.161
   In RJR Nabisco,162 the Supreme Court said that the presumption against extraterritoriality
   applies regardless ‘of whether there is a risk of conflict between the American statute and a
   foreign law’ and (obiter) ‘of whether the statute in question regulates conduct, affords
   relief, or merely confers jurisdiction’. The Court held that the Racketeer Influenced and
   Corrupt Organizations Act (RICO) can apply to some foreign racketeering activity, and thus
   the presumption was overcome regarding the Act’s substantive provisions.163

   4. The Separateness of the Grounds of Jurisdiction




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 13 of 32

   (A) The relationship between the separate grounds
   The various principles held to justify jurisdiction over aliens are commonly listed as
   independent and cumulative,164 although some may be labelled ‘subsidiary’ to (p. 461)
   others.165 However, it must be remembered that the ‘principles’ are in substance
   generalizations of a mass of national provisions which by and large do not reflect categories
   of jurisdiction specifically recognized by international law. It may be that each individual
   principle is only evidence of the reasonableness of the exercise of jurisdiction.166 The
   various principles often interweave in practice. Thus, the objective applications of the
   territorial principle and also the passive personality principle have strong similarities to the
   protective or security principle. Nationality and security may go together, or, in the case of
   the alien, factors such as residence may support an ad hoc notion of allegiance. These
   features of the practice have led some jurists to formulate a broad principle resting on some
   genuine or effective link between the crime and the state of the forum.167

   (B) Consequences of excess of prescriptive jurisdiction
   (i) The legal position
   If enforcement action is taken in a case of exorbitant jurisdiction with consequent injury, an
   international wrong will presumably have been committed.168 The consequences of the
   mere passage of legislation asserting exorbitant jurisdiction remain an open question.
   (ii) Practical consequences
   As a practical matter, whilst states may protest the use of exorbitant prescriptive
   jurisdiction, unless the prescribing state attempts to enforce the jurisdiction claimed, it is
   unlikely that any action will be taken. At the same time, a prescriptive statement—even
   absent immediate enforcement action—is fundamentally a threat, which may compel
   foreign nationals to alter their behaviour.169 This may cause the other state to respond
   through a ‘blocking statute’, a law enacted to obstruct the extra-jurisdictional application or
   effect of a law enacted in another jurisdiction.170

   (p. 462) 5. Enforcement Jurisdiction
   (A) The basic principle
   As with prescriptive jurisdiction, a state’s use of enforcement jurisdiction within its own
   territory is uncontroversial.171 By contrast, the unilateral and extraterritorial use of
   enforcement jurisdiction is impermissible. As the Permanent Court said in the Lotus:

         [T]he first and foremost restriction imposed by international law upon a state is that
         —failing the exercise of a permissive rule to the contrary—it may not exercise its
         power in any form in the territory of another State. In this sense jurisdiction is
         certainly territorial; it cannot be exercised by a State outside its territory except by
         virtue of a permissive rule derived from international custom or a convention.172

   The governing principle of enforcement jurisdiction is that a state cannot take measures on
   the territory of another state by way of enforcement of its laws without the consent of the
   latter.173 Persons may not be arrested, a summons may not be served, police or tax
   investigations may not be mounted, and orders for production of documents may not be
   executed on the territory of another state, except under the terms of a treaty or other
   consent given.174 One key example of such consent is a Status of Mission or Status of
   Forces Agreement (SOMA or SOFA), whereby one state consents to the presence of
   another’s troops on its territory and to related military jurisdiction.175




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 Subscriber: Gujarat National Law University; date: 27 June 2021                                                           94
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 14 of 32

   (B) Enforcement with respect to extraterritorial activities
   The principle of territoriality is not infringed just because a state takes action within its own
   borders with respect to acts carried out in another state. But the correctness of this
   position has not prevented controversy from arising. This is especially the case when
   considering the use by US courts of the ‘effects doctrine’ to promote certain prescriptive
   objectives in the field of economic regulation, especially antitrust law. US courts in, for
   example, Alcoa176 and Watchmakers of Switzerland,177 have taken the view that (p. 463)
   whenever activity abroad has consequences or effects within the US which are contrary to
   local legislation then the courts may make orders requiring the disposition of patent rights
   and other property of foreign corporations, the reorganization of industry in another
   country, the production of documents, and so on. The US doctrine appears to be restricted
   to agreements abroad intended to have material effects within the US and actually having
   such effects.178 US courts have, in the past, adopted a principle of the balancing of the
   various national interests involved, which, though unhelpfully vague, could mitigate the
   cruder aspects of the ‘effects doctrine’.179
   The courts, the US government, and foreign governments in reacting to US measures,
   assume that there are some limits to enforcement jurisdiction, but there is no consensus on
   what those limits are.180 Those limits were tested in Hoffman-La Roche,181 where there had
   been a significant foreign anti-competitive conduct with an adverse domestic effect and an
   independent foreign effect. The Supreme Court found that it had jurisdiction to entertain a
   claim by a purchaser in the US based on domestic injury, but not by a purchaser abroad
   based on foreign harm. Among other considerations, the Supreme Court understood that it
   must construe ambiguous statutes to avoid unreasonable interference with sovereign
   authority and assume that the US Congress ordinarily seeks to follow the principles of
   customary international law.
   The UK view appears to be that a state ‘acts in excess of its own jurisdiction when its
   measures purport to regulate acts which are done outside its territorial jurisdiction by
   persons who are not its own nationals and which have no, or no substantial, effect within its
   territorial jurisdiction’.182 Jennings has stated the principle ‘that extra-territorial
   jurisdiction may not be exercised in such a way as to contradict the local law at the place
   where the alleged offence was committed’.183 In the case of corporations with complex
   structures and foreign-based subsidiaries, a principle of substantial or effective connection
   could be applied as a basis for jurisdiction.184 This approach would accord with the relevant
   notions of the conflict of laws, in particular, the ‘proper law’ of a transaction. The present
   position is probably this: a state has enforcement jurisdiction abroad only to the extent
   necessary (p. 464) to enforce its legislative jurisdiction. This latter rests on the existing
   principles of jurisdiction and these, it has been suggested, are close to the principle of
   substantial connection.

   (C) Recognition and enforcement abroad
   (i) Criminal jurisdiction
   In a criminal context, enforcement jurisdiction will ordinarily entail the pursuit and arrest of
   the accused, detention and trial, and the carrying out of any sentence.
   With respect to extraterritorial enforcement action leading to the capture of the accused,
   state consent can be given on ad hoc basis, but in circumstances where movement between
   two states is relatively regular and straightforward, bi- or multilateral agreements may be
   entered into in order to provide standing orders for enforcement jurisdiction between
   states. The most notable of these is the Schengen Convention185 between some members of
   the EU. Article 40(1) provides that where the officials of one contracting party are keeping
   under surveillance a person suspected of an extraditable offence, they may request that
   surveillance is continued in the territory of another contracting party by officials of that


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 Subscriber: Gujarat National Law University; date: 27 June 2021                                                           95
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 15 of 32

   party. Article 40(2) further provides that in circumstances where, for particularly urgent
   reasons, authorization cannot be requested from the other contracting party, the officials
   carrying out the surveillance may be authorized to continue the surveillance in the territory
   of the other contracting party. On similar lines, Article 41 permits the officials to engage in
   hot pursuit of a subject across state borders, where due to the urgency of the situation, the
   permission of the other contracting state cannot be obtained.
   More generally, Article 39(1) provides that, subject to the requirements of municipal law,
   the police authorities of each contracting party undertake to assist each other for the
   purpose of detecting and preventing criminal offences, though this does not expressly
   mandate extraterritorial enforcement. Article 39 is supplemented in this respect by the
   Convention on Mutual Assistance in Criminal Matters between the member states of the
   European Union.186 Treaties of mutual criminal assistance, like enforcement agreements,
   can also be concluded on a bilateral or multilateral basis.187
   Unlike activities connected to surveillance of an accused, arrest, trial, and incarceration are
   rarely carried out in an extraterritorial capacity, particularly in circumstances not linked to
   a SOMA or SOFA. But when the Libyan government refused to extradite those thought to be
   responsible for the 1988 bombing of Pan Am Flight 103 over Lockerbie, Scotland, unless
   they were tried in a neutral country, the UK and the Netherlands (p. 465) entered into an
   agreement to permit a Scottish court applying Scottish criminal law to sit in a former US
   Air Force base in the Netherlands to try the accused.188
   Provision is also made by treaty for the enforcement of foreign criminal judgments. Here,
   there is generally a divide between the civil and common law approaches to the subject,
   with the latter rejecting in principle the enforcement of the penal law of another state.189
   Civil law systems are less averse to the concept, as witness the European Convention on the
   International Validity of Criminal Judgments.190
   Apart from trial in absentia, an unsatisfactory procedure, states have to depend on the
   cooperation of the other states in order to obtain surrender of suspected criminals or
   convicted criminals who are, or have fled, abroad. Where this cooperation rests on a
   procedure of request and consent, regulated by certain general principles, the form of
   international judicial assistance is called extradition.191 Due to the profusion of extradition
   treaties, it is possible to speak of an international law of extradition, a term which does not
   imply the existence of custom, but of a significant corpus of conventional law exhibiting
   certain common elements. Such treaties are usually bilateral,192 but the European
   Convention on Extradition (ECE)193 is in effect between EU member states (although it has
   been largely replaced by the European arrest warrant (EAW), which combines elements of
   arrest and extradition).194 The UN has also issued a Model Treaty on Extradition
   (UNMTE).195 Common conditions include double criminality (the act in question must be
   criminal under the laws of both the requesting and requested states),196 non-extradition for
   ‘political offences’,197 and the rule of (p. 466) speciality which prevents prosecution
   founded on a treaty-based extradition from proceeding on any basis other than that on
   which the request was founded.198 Another significant limitation is the rule ne bis in idem,
   which precludes extradition of persons already tried for the same offence. Finally, many
   states reserve the right to refuse extradition owing to human rights concerns, for example,
   where extradition may mean that the accused is liable to torture199 or the death penalty.200
   Since the attacks by al-Qaeda on the US in 2001, there has been an increase in ‘informal’
   extradition or rendition, though the practice is not new.201 If it takes place with the consent
   of the ‘sending’ state, there is no transgression of international law standards.202 If,
   however, there is no extradition of any kind—informal or otherwise—but the suspect is
   simply seized by the agents of the receiving state in the absence of any legal process, then
   there is clearly a breach of international law.203 This, described generally as ‘extraordinary
   rendition’, has been practised by the US since 2001. Depending on the legal system in


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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 16 of 32

   question, the attendant illegality may not prevent the trial of the suspect, an application of
   the maxim male captus bene detentus.204
   (ii) Civil and administrative jurisdiction
   With respect to civil and administrative jurisdiction, extraterritorial enforcement revolves
   largely around the recognition and enforcement of judgments and orders abroad. This is
   one of the central preoccupations of private international law. In general, the field is
   parochial, with each state developing its own process and criteria for recognition and
   enforcement. The Brussels I Regulation seeks to unify the procedures (p. 467) for the
   recognition of judgments between EU member states.205 The judgment of a court of a
   member state is subject to automatic recognition (Art 36) and enforcement (Art 39) by the
   courts of other member states, with the onus on the defendant to contest enforcement
   according to a limited number of clearly defined exceptions.206
   However, the need to approach the court of the jurisdiction where enforcement is sought is
   circumvented—in form if not in substance—when considering certain orders issued by
   common law courts (notably in England but also the US) which act in personam on the
   conscience of a party properly before the court to restrain its dealings with assets or
   processes outside the jurisdiction. The first of these, the so-called ‘freezing injunction’,207
   acts in personam to prevent a defendant from moving, hiding, or otherwise dissipating its
   assets so as to render itself judgment-proof.208 The injunction neither creates, transfers, nor
   revokes property rights; it merely affects the capacity of the defendant to exercise them
   freely. But what the freezing injunction lacks in extraterritorial form, it makes up for in
   extraterritorial effect. The scope of the order has been expanded considerably. First, by
   virtue of its in personam operation, the injunction can be granted with respect to assets
   which are not within the jurisdiction of the court granting the order.209 Further, it can be
   given effect against foreign third parties, normally multinational banks with a branch within
   the jurisdiction granting the order. Finally, it can be granted in aid of foreign proceedings
   even where no proceedings are on foot before the court granting the order.210
   The second example is the anti-suit injunction, which acts to restrain a party subject to the
   jurisdiction of the court from launching or continuing proceedings in a foreign court
   injurious to the defendant in those proceedings.211 Ordinarily, the claimant in the foreign
   proceedings must be already before the court,212 though the relief may be granted
   autonomously of any domestic proceedings where the subject matter of the proceedings213
   or the relationship between the parties214 is such as to give the granting court exclusive (p.
   468) jurisdiction.215 Although the order is usually granted where the claimant in the foreign
   proceedings has commenced them in a manner which is somehow objectionable, it may also
   be granted where the foreign claimant has apparently acted without blame.216
   The perceived exorbitance of the common law jurisdictions in respect of these orders is
   often criticized on the basis of ‘comity’.217 Comity arises from the horizontal arrangement of
   state jurisdictions in private international law and the field’s lack of a hierarchical system of
   norms. It plays the role of a somewhat uncertain umpire: as a concept, it is far from a
   binding norm, but it is more than mere courtesy exercised between state courts. The
   Supreme Court of Canada said in Morguard v De Savoye,218 citing the US Supreme Court in
   Hilton v Guyot,219 that:

         Comity is the recognition which one nation allows within its territory to the
         legislative, executive or judicial acts of another nation, having due regard both to
         international duty and convenience, and to the rights of its own citizens or of other
         persons who are under the protection of its law.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 17 of 32

   Common lawyers have been anxious to justify the development of the freezing and anti-suit
   injunctions on the basis of comity.220 For this reason, as with the doctrine of forum non
   conveniens, whilst the jurisdiction to grant the remedy may be easily established, the
   claimant must nonetheless persuade the court to exercise its discretion. A substantial body
   of jurisprudence has built up around these remedies to guide the court in its use of
   discretion. But so far these efforts at justification have fallen on deaf European ears: the
   European Court has repeatedly disqualified such injunctive measures as inconsistent with
   full faith and credit as between EU member state courts, however dilatory or parochial the
   latter may be.221

   6. Conclusion
   A general view of the law is difficult to obtain, given the extent and diversity of the practice
   and the pull of different legal traditions. But it might include the following propositions:
   First, the exercise of civil jurisdiction in respect of aliens presents essentially the same
   problems as the exercise of criminal jurisdiction over them, though in (p. 469) practical
   terms there are differences, both procedurally and in the reactions that can be expected.
   Secondly, the two generally recognized bases for prescriptive jurisdiction of all types are
   the territorial and nationality principles, but their application is complemented by the
   operation of other principles, especially in certain fields. The use of the passive personality
   principle in cases of international terrorism appears to be accepted and, over time,
   opposition to the use of the effects doctrine by the US and EU in the pursuit of certain
   competition law objectives is diminishing. As a general rule, however, it remains true that if
   a state wishes to avoid international criticism over its exercise of extraterritorial
   jurisdiction, it is better to base the prescriptive elements on territoriality or nationality.
   Thirdly, extraterritorial acts can lawfully be the object of prescriptive jurisdiction only if
   certain general principles are observed:

         (1) There should be a real and not colourable connection between the subject matter
         and the source of the jurisdiction (leaving aside rare cases of universal jurisdiction).
         (2) The principle of non-intervention in the territorial jurisdiction of other states
         should be observed, notably in an enforcement context. 222
         (3) Elements of accommodation, mutuality, and proportionality should be duly taken
         into account. Thus, nationals resident abroad should not be constrained to violate the
         law of their place of residence.
         (4) These basic principles do not apply or do not apply very helpfully to (a) certain
         cases of concurrent jurisdiction, and (b) crimes against international law within the
         ambit of universal jurisdiction. In these areas, special rules have evolved. Special
         regimes also apply to the high seas, continental shelf, EEZ, outer space, and
         Antarctica.
         (5) Jurisdiction is often concurrent and there is no hierarchy of bases for jurisdiction.
         However, an area of exclusivity may be established by treaty, as in the case of
         offences committed on board aircraft in flight.



   Footnotes:
   1 Generally: Akehurst (1972–3) 46 BY 145; Bowett (1982) 53 BY 1; Lowe, Extraterritorial
   Jurisdiction (1983); Meessen (ed), Extra-Territorial Jurisdiction in Theory and Practice
   (1996); Oxman, ‘Jurisdiction of States’ (2007) MPEPIL; Simma & Müller in Crawford &
   Koskenniemi (eds), Cambridge Companion to International Law (2012) 134; Kamminga,
   ‘Extraterritoriality’ (2012) MPEPIL; Colangelo (2013–14) 99 Cornell LR 1303; Ryngaert,


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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 18 of 32

   Jurisdiction in International Law (2nd edn, 2015); Orakhelashvili, Research Handbook on
   Jurisdiction and Immunities in International Law (2015). On jurisdiction over the Internet:
   Kulesza, International Internet Law (2012) ch 1; Coughlan et al, Law Beyond Borders
   (2014) ch 5; Gillespie, Cybercrime: Key Issues and Debates (2015) ch 2.
   2
     In the US, see Restatement Third §401. Also see the draft Restatement Fourth (2017)
   §101.
   3
      On adjudicative jurisdiction (also referred to as judicial or curial jurisdiction): Akehurst
   (1972–3) 46 BY 145, 152–78; Oxman, ‘Jurisdiction of States’ (2007) MPEPIL; Colangelo
   (2013) 28 Md JIL 65. This refers to the competence of a municipal court to sit in judgment
   over a foreign national and may be better seen as a manifestation of prescriptive
   jurisdiction: the application of municipal law by the court is, in effect, the actualization of
   prescription, although the carrying out of any judgment or sentence is an expression of
   enforcement jurisdiction: O’Keefe (2004) 2 JICJ 735, 737. But the different elements may be
   difficult to separate out in this way.
   4
     Ryngaert (2nd edn, 2015) ch 5. To this end, there is a presumption against
   extraterritoriality: draft Restatement Fourth (2017) §203; Ryngaert (2nd edn, 2015) 68–73;
   Bradley (2nd edn, 2015) 179–86. For the application of the presumption: R v Jameson
   [1896] 2 QB 425; Morrison v National Australia Bank Ltd, 561 US 247, 250–1 (2010); Kiobel
   v Royal Dutch Petroleum Co, 569 US 108 (2013); US v Vilar, 729 F3d 62, 72 (2d Cir, 2013).
   5
     Cf the doctrine stated in Nottebohm (Liechtenstein v Guatemala), ICJ Reports 1955 p 4;
   Kingdom of Greece v Julius Bär and Co (1956) 23 ILR 195; Guardianship of Infants
   (Netherlands v Sweden), ICJ Reports 1958 p 55, 109 (Judge Moreno Quintana). Also
   Ryngaert (2nd edn, 2015) 156–7.
   6
     E.g. OECD Model Tax Convention on Income and Capital (9th edn, 2015); UN Model
   Double Taxation Convention between Developed and Developing Countries (2011).
   7
     Harvard Research (1935) 29 AJIL Supp 439; Higgins, Problems and Process (1994) ch 4;
   Oxman, ‘Jurisdiction of States’ (2007) MPEPIL; Ryngaert (2nd edn, 2015) ch 4; Farbiarz
   (2016) 114 Mich LR 507; Liivoja, Criminal Jurisdiction over Armed Forces Abroad (2017).
   Some US courts have suggested that the presumption against extraterritoriality does not
   apply to criminal law: US v Siddiqui, 699 F3d 690 (2d Cir, 2012).
   8
      An early cause célèbre was R v Keyn (The Franconia) (1878) 2 Ex D 63, concerning
   criminal jurisdiction over the German captain of a German merchant ship which collided
   with a British vessel in the UK territorial sea. The court denied jurisdiction (on a vote of 8–
   7), a decision promptly reversed by statute: Territorial Waters Jurisdiction Act 1878.
   Further: Crawford (1980) 51 BY 1, 48–61.
   9
        (1927) PCIJ Ser A No 10, 19.
   10
      E.g. Brierly (1936) 58 Hague Recueil 1, 146–8, 183–4; Basdevant (1936) 58 Hague
   Recueil 471, 594–7; Fitzmaurice (1957) 92 Hague Recueil 1, 56–7; Lauterpacht, 1
   International Law (1970) 488–9; Higgins, Problems and Process (1994) 76–7; Cameron, The
   Protective Principle of International Criminal Jurisdiction (1994) 319; Ryngaert (2nd edn,
   2015) 33–8; Hertogen (2015) 26 EJIL 901.
   11
      See now UN Convention on the Law of the Sea (UNCLOS) Art 92, and see further:
   chapter 15.
   12
        Fisheries (UK v Norway), ICJ Reports 1951 p 116, 131–4.
   13
         ICJ Reports 1955 p 4, 20. Also chapter 23.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 19 of 32

   14
      Arrest Warrant of 11 April 2000 (Democratic Republic of the Congo v Belgium), ICJ
   Reports 2002 p 3, 78 (Judges Higgins, Kooijmans, and Buergenthal), 169 (Judge ad hoc van
   den Wyngaert).
   15
        SS Lotus (1927) PCIJ Ser A No 10, 19.
   16
      Buxbaum (2009) 57 AJCL 631; Ireland-Piper (2013) 9(4) Utrecht LR 68, 72; Bassiouni,
   International Extradition (6th edn, 2014) 364–405; Scott (2014) 62 AJCL 87; Ryngaert (2nd
   edn, 2015) ch 3; Cormier (2015) 13 JICJ 895; Farbiarz (2016) 114 Mich LR 507.
   17
      Harvard Research (1935) 29 AJIL Supp 439, 480, 484–7. In the US, see e.g. 18 USC
   §956(a)(1).
   18
      Ryngaert (2009) 9 Int Crim LR 187, 188 (‘[I]t is domestic law, rather than international
   law, which defines the constituent elements of a particular offence’).
   19
      Board of Trade v Owen [1957] AC 602, 634 (Lord Tucker); R v Cox [1968] 1 All ER 410,
   413; DPP v Doot [1973] AC 807, 817 (Lord Wilberforce); DPP v Stonehouse [1977] 2 All ER
   909, 916 (Lord Diplock); Liangsiripraset v US [1991] 1 AC 225. Under US law, conspiracy
   can be seen as either an inchoate or independent crime, allowing the protective principle
   and effects doctrine to found jurisdiction independently: Ford v US, 273 US 593 (1927);
   Iannelli v US, 420 US 770 (1975); US v Leija-Sanchez, 820 F3d 899 (7th Cir, 2016).
   Generally: Ryngaert (2009) 9 Int Crim LR 187, 194–7.
   20
      US v Aluminum Co of America, 148 F2d 416 (2d Cir, 1945). In US antitrust cases, wide
   extension of the territorial principle might be explained by, though it is not expressed in
   terms of, a principle of protection. It can also be described in terms of the effects doctrine:
   Ryngaert (2nd edn, 2015) 82–4. See Alford (1992) 33 Va JIL 1; Botteman & Patsa (2012) 8
   Eu Comp J 365; Buxbaum & Michaels in Basedow, Francq, & Idot (eds), International
   Antitrust Litigation (2012) 225–44. However, US jurisdiction on antitrust matters does not
   extend to the foreign effects of anti-competitive conduct. See Hoffmann-La Roche Ltd v
   Empagran SA, 542 US 155 (2004).
   21
      Cf Ryan & Mitsilegas, Extraterritorial Immigration Control (2010); den Heijer, Europe
   and Extra-Territorial Asylum (2011) 239–42.
   22
       The European approach is notable; as soon as one of the constituent elements of an
   offence is committed in a state’s territory, the state will ordinarily have jurisdiction:
   Ryngaert (2009) 9 Int Crim LR 187, 197–202.
   23
        (1927) PCIJ Ser A No 10, 23.
   24
      SS Lotus, 92 (Judge Moore); The Queen v Klassen, ILDC 941 (2008). Further: Harvard
   Research (1935) 29 AJIL Supp 519; Jennings (1957) 33 BY 146, 153; Chehtman, The
   Philosophical Foundations of Extraterritorial Punishment (2010) 59–67; Ireland-Piper (2012)
   13 Melb JIL 122, 131–4; Ryngaert (2nd edn, 2015) 76–8; Guilfoyle, International Criminal
   Law (2016) 32–3. See also Restatement Third §403(2)(b) and the draft Restatement Fourth
   (2017) §201(1)(c); Blackmer v US, 284 US 421 (1932); Al-Skeini v Secretary of State for
   Defence [2008] 1 AC 153; Smith v Ministry of Defence [2013] UKSC 41, [46]–[48]. Also
   Bassiouni (6th edn, 2014) 406–8.
   25
       E.g. Penal Law 1977, as amended in 1994 (Israel), s16(a); War Crimes Act 1991 (UK),
   s2(b); Terrorism Act 2000 (UK), ss63B, 63C. In Australia: War Crimes Act 1945, as amended
   in 2001, s11; XYZ v Commonwealth [2006] HCA 25. See also: R v Moti (2009) 235 FLR 320.
   26
       Public Prosecutor v Drechsler (1946) 13 ILR 73; Re Penati (1946) 13 ILR 74; In re
   Bittner (1949) 16 ILR 95; cf DPP v Joyce [1946] AC 347; Re P (GE) (an infant) [1964] 3 All




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 Subscriber: Gujarat National Law University; date: 27 June 2021                                                           100
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 20 of 32

   ER 977. The Canadian Criminal Code RSC 1985 C-46 operates against persons ‘ordinarily
   resident’: ss7(3.72), (3.73), (3.74). See also: Liivoja (2010) 11 Melb JIL 309, 324–9.
   27
       In re Mittermaier (1946) 13 ILR 69; In re SS Member Ahlbrecht (1947) 14 ILR 196, 200–
   1; Ram Narain v Central Bank of India (1951) 18 ILR 207.
   28
      Treason Act 1351, sII; further: R v Lynch [1903] 1 KB 444; R v Casement [1917] 1 KB
   98; Lew (1978) 27 ICLQ 168.
   29
        Offences Against the Person Act 1861, s9.
   30
        Ibid, s57.
   31
        Football Spectators Act 1989, s22.
   32
        Sexual Offences Act 2003, s72, Sch 2.
   33
        Official Secrets Act 1989, s15.
   34
        Harvard Research (1935) 29 AJIL Supp 439, 519; Ryngaert (2nd edn, 2015) 105.
   35
      E.g. UKMIL (2006) 77 BY 597, 756; 18 USC §2423(c). Naturally, this will depend on the
   definition of ‘serious’: cf Misuse of Drugs Act (Singapore), ss8A, 33, 33A, Schs 2 and 4.
   Note also: Penal Code (France), arts 113-6, 113-7 (creating extraterritorial jurisdiction for
   misdemeanours punishable by imprisonment).
   36
       Ryngaert (2nd edn, 2015) 105–6. The practice of limiting the use of nationality
   jurisdiction to serious offences is largely common law in origin, with civil law countries
   applying a more expansive approach: e.g. Bosnia/Herzegovina Criminal Code, Art 12(2)
   (‘The criminal legislation of Bosnia and Herzegovina shall be applied to a citizen of Bosnia
   and Herzegovina who, outside the territory of Bosnia and Herzegovina, perpetrates a
   criminal offence’).
   37
      Antarctic Treaty, 1 December 1959, 402 UNTS 71, Art VIII(1); see e.g. Antarctic Act
   1994 (UK), s21. Further: Molenaar & Elferink, The International Legal Regime of Areas
   beyond National Jurisdiction (2010) 115–16. The same situation subsists with respect to
   criminal jurisdiction on the International Space Station, although the governing instrument
   also provides for subsidiary territorial and passive personality jurisdiction in certain cases:
   Agreement Concerning Cooperation on the Civil International Space Station, 29 January
   1998, TIAS 12927, Art 22. The position is not replicated with respect to the earlier Treaty
   on Principles Governing the Activities of States in the Exploration and Use of Outer Space,
   Including the Moon and Other Celestial Bodies, 27 January 1967, 610 UNTS 205: Art 8
   provides that when a state party launches an object into outer space, it retains jurisdiction
   over that object and over any personnel—a species of flag state jurisdiction.
   38
      E.g. Swedish Penal Code, ch 2, s2. Further: Harvard Research (1935) 29 AJIL 439, 535;
   Ryngaert (2nd edn, 2015) 104.
   39
      Harvard Research (1953) 29 AJIL Supp 439, 443, 445, 573, 579; Ireland-Piper (2012) 13
   Melb JIL 122, 134–6; Echle (2013) 9(4) Utrecht LR 56; Bassiouni (6th edn, 2014) 408–11;
   Ryngaert (2nd edn, 2015) 110–13.
   40
        Moore, 2 Digest 228–42; Foreign Relations of the United States (1887) 751–867.
   41
        (1927) PCIJ Ser A No 10, 15.
   42
        Lauterpacht (1947) 9 CLJ 330, 343. Cf Bassiouni (6th edn, 2014) 408–9.
   43
      (1927) PCIJ Ser A No 10, 89–94 (Judge Moore, diss). Also Flatow v Islamic Republic of
   Iran, 999 F Supp 1, 15–16 (DCC, 1998), see also Cicippio-Puleo v Islamic Republic of Iran,
   353 F3d 1024, 1033 (DCC, 2004); Owens v Republic of Sudan, 864 F3d 751 (DCC, 2017).




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 21 of 32

   For comment on the extension of jurisdiction with respect to terrorism: Higgins (1994) 66–7
   (US law); Wiffen (2012–13) 59 Crim LQ 47 (Canadian law).
   44
      Antiterrorism Act of 1991, 106 Stat 4506 (1992). The Act had the purpose of expanding
   US courts’ jurisdiction in terrorism cases beyond the scope of admiralty. See Klinghoffer v
   SNC Achille Lauro, 739 F Supp 854, 856 (SDNY, 1990).
   45
        18 USC §2333(a).
   46
        Daimler AG v Bauman, 134 S Ct 746 (2014).
   47
      Waldman v Palestine Liberation Organization, 835 F3d 317, 322, 336–7 (2d Cir, 2016),
   cert den, __ US ___ (2018); noted (2017) 111 AJIL 504.
   48
      Harvard Research (1935) 29 AJIL Supp 439, 578–9; Ireland-Piper (2012) 13 Melb JIL
   122, 134–6; Echle (2013) 9(4) Utrecht LR 56, 60–1; Ryngaert (2nd edn, 2015) 110.
   49
      Donnedieu de Vabres, Les Principes modernes du droit penal international (1928) 170.
   Also Ryngaert (2nd edn, 2015) 110–11.
   50
        Brierly (1928) 44 LQR 154, 161; Echle (2013) 9(4) Utrecht LR 56.
   51
        E.g. Arrest Warrant, ICJ Report 2002 p 3, 76–7 (Judges Higgins, Kooijmans, and
   Buergenthal): ‘Passive personality jurisdiction, for so long regarded as controversial, is
   reflected not only in the legislation of various countries … and today meets with relatively
   little opposition, at least so far as a particular category of offences is concerned’. Also
   Ryngaert (2nd edn, 2015) 111; ILC Ybk 2006/II(2), 527. For example, in domestic
   legislation: Criminal Code Amendment (Offences against Australians) Act 2002 (Australia);
   Penal Code (France), arts 113–117; 18 USC §2332F(b)(2)(B); Organic Law 1/2009 (3
   November 2009) (Spain) art 23(4), (5). In the US, passive personality was rejected by the
   Restatement Second (1965) §30(2) but it was accepted in Restatement Third §402(2).
   52
      E.g. Convention on Offences Committed on Board Aircraft, 14 September 1963, 704
   UNTS 219, Art 4(b); Convention Against Torture, 10 December 1984, 1485 UNTS 85, Art
   5(1)(c).
   53
       Harvard Research (1935) 29 AJIL Supp 439, 543; Cameron, ‘International Criminal
   Jurisdiction, Protective Principle’ (2007) MPEPIL; Ryngaert (2nd edn, 2015) 114–20;
   Guilfoyle (2016) 35–6. For a critique: Bialostozky (2013–14) 52 Col JTL 617. See also
   Restatement Third §402(3); draft Restatement Fourth (2017) §201(1)(e).
   54
       Nusselein v Belgian State (1950) 17 ILR 136; Public Prosecutor v L (1951) 18 ILR 206;
   Re van den Plas (1955) 22 ILR 205; Rocha v US, 288 F2d 545 (9th Cir, 1961); Italian South
   Tyrol Terrorism Case (1970) 71 ILR 242; US v Peterson, 812 F2d 486, 494 (9th Cir, 1987)
   (‘Protective jurisdiction is proper if the activity threatens the security or government
   functions of the United States.’); US v Yousef, 327 F3d 56, 112 (2d Cir, 2003); US v Davis,
   905 F2d 245, 249 (9th Cir, 1990); US v Cardales, 168 F3d 548, 553 (1st Cir, 1999), cf US v
   Bustos-Useche, 273 F3d 622 (5th Cir, 2001); Arrest Warrant, ICJ Reports 2002 p 3, 37
   (President Guillaume), 92 (Judge Rezek); US v Al Kassar, 660 F3d 108, 118 (2d Cir, 2011).
   55
        Molvan v AG for Palestine [1948] AC 351; Giles v Tumminello (1969) 38 ILR 120.
   56
       [1946] AC 347 (on which see Lauterpacht, 3 International Law (1977), 221). Also Board
   of Trade v Owen [1957] AC 602, 634 (Lord Tucker).
   57
        (1962) 36 ILR 5, 18, 54–7 (Dist Ct), 304 (Sup Ct).
   58
      Notwithstanding this, the District Court of Jerusalem felt able to say that the law under
   which Eichmann was prosecuted ‘conforms to the best traditions of the law of nations’:
   (1962) 36 ILR 5, 18, 25. Also the statement of the Supreme Court, ibid, 287.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 22 of 32

   59
       E.g. the US asserts jurisdiction over foreigners on the high seas on the basis of the
   protective principle, arguing that the illegal trade in narcotics is sufficiently prejudicial to
   its national interest: US v Gonzalez, 776 F2d 931 (11th Cir, 1985); US v Davis, 905 F2d 245
   (1st Cir, 1990); US v Saac, 632 F3d 1203 (11th Cir, 2011). Maritime Drug Law Enforcement
   Act 1986; Murphy (2003) 97 AJIL 183. Further: Papastavridis, The Interception of Vessels
   on the High Seas (2013) 248–51.
   60
        Jacobellis v Ohio, 378 US 184, 197 (1964) (Stewart J).
   61
        Coppel (1993) 6 LJIL 73; O’Keefe (2004) 2 JICJ 735, 739.
   62
      E.g. in respect of inchoate conspiracies to murder or import illegal narcotics, where
   these offences are almost certainly illegal in those countries in which the plotting took
   place. In other areas, notably the fields of antitrust/competition law, such illegality cannot
   be assumed, and the validity of the doctrine remains uncertain: ibid, 739.
   63
        (1927) PCIJ Ser A No 10, 23.
   64
        ICJ Reports 2002 p 3, 77 (Judges Higgins, Kooijmans, and Buergenthal).
   65
       In the US: Restatement Third §402(1)(c), draft Restatement Fourth §201(1)(b); Morrison
   v National Australia Bank Ltd, 130 S Ct 2869, 2877 (2010) (articulating a ‘substantial
   effects’ test); Dodge (2011) 40 Southwestern LR 687. In the EU: e.g. Case T-102/96 Gencor
   Ltd v Commission [1999] ECR II-753; Case T-286/09 Intel Corp v European Commission,
   ECLI:EU:T:2014:547. Further: Agreement between the European Communities and the
   Government of the United States on the Application of Positive Comity Principles in the
   Enforcement of their Competition Laws, 4 June 1998 [1998] OJ L173/28; Jaiswal (2015) 12
   Manchester JIEL 344; Ryngaert (2nd edn, 2015) 83–4.
   66
        US v Aluminum Co of America, 148 F2d 416, 443 (2d Cir, 1945).
   67
       Hartford Fire Insurance Co v California, 509 US 764, 796 (1993); Hoffman-La Roche Ltd
   v Empagran SA, 542 US 155, 165 (2004); Minn-Chem Inc v Agrium Inc, 683 F3d 845 (7th
   Cir, 2012); Carrier Corp v Outokumpu Oyj, 673 F3d 430 (6th Cir, 2012). Generally:
   Raymond (1967) 61 AJIL 558; Metzger (1967) 61 AJIL 1015; Norton (1979) 28 ICLQ 575;
   Kelley (1991) 23 U Miami IA LR 195; Buxbaum & Michaels in Basedow, Francq, & Idot
   (eds), International Antitrust Litigation (2012) 225–44. Further Basedow, ‘Antitrust or
   Competition Law, International’ (2014) MPEPIL.
   68
        Shipping Contracts and Commercial Documents Act 1964 (UK).
   69
      Regulation (EC) 2271/96, amended by Regulation (EU) 2018/1100, and see Regulation
   (EU) 2018/1101 laying down criteria for its application.
   70
        Lowe (1984) 27 GYIL 54; Kuyper, ibid, 72; Meessen, ibid, 97.
   71
        Cf the Note dated 12 August 1982 and comment, Lowe (1983) 197.
   72
        Note dated 18 October 1982, UKMIL (1982) 53 BY 337, 453; Lowe (1983) 212.
   73
      Herdegen, Principles of International Economic Law (2013) 90; Ryngaert (2nd edn,
   2015) 83–4.
   74
        ICI v EEC Commission (1972) 48 ILR 106, 121–3.
   75
      (1988) 96 ILR 174. However, the Court based its decision on ‘the territoriality principle
   as universally recognized in public international law’: ibid, 196–7.
   76
       E.g. UKMIL (1992) 63 BY 615, 724–9; UKMIL (1993) 64 BY 579, 643–5; UKMIL (1995)
   66 BY 583, 669–71; UKMIL (1996) 67 BY 683, 763–5; UKMIL (1998) 69 BY 433, 534; UKMIL
   (2001) 72 BY 551, 627, 631; UKMIL (2013) 83 BY 298, 461–2. Further: Supplemental Brief
   of the European Commission on Behalf of the European Union as Amicus Curiae in Support




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 Subscriber: Gujarat National Law University; date: 27 June 2021                                                           103
Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 23 of 32

   of Neither Party, Kiobel v Royal Dutch Petroleum Co, 569 US 108 (2013). On the EU
   approach to the effects test more generally: Scott (2014) 62 AJCL 87, 92–3, 95–6.
   77
        22 USC §6001.
   78
        Iran and Libya Sanctions Act, 110 Stat 1541.
   79
        Cuban Liberty and Democratic Solidarity (Libertad) Act, 22 USC §6021.
   80
      Gidel, 2 Le Droit international public de la mer (1932) 39–252; Jessup, Law of Territorial
   Waters and Maritime Jurisdiction (1927) 144–208; Harvard Research (1929) 23 AJIL Supp
   241, 307–28; Harvard Research (1935) 29 AJIL Supp 508; McDougal & Burke, The Public
   Order of the Oceans (1962) 161–73; Churchill & Lowe, The Law of the Sea (3rd edn, 1999)
   65–9; Marten, Port State Jurisdiction and the Regulation of Merchant Shipping (2014);
   Molenaar, ‘Port State Jurisdiction’ (2014) MPEPIL; Kopela (2016) 47 ODIL 89; Rothwell &
   Stephens, The International Law of the Sea (3rd edn, 2016) 47–8; Rayfuse in Warner &
   Kaye (eds), Routledge Handbook of Maritime Regulation and Enforcement (2016) 71, 72–4.
   81
      Also Lauritzen v Larsen, 345 US 571, 584–6 (1953). See also Reino de España v
   American Bureau of Shipping Inc, 729 F Supp 2d 635 (SDNY, 2010); Churchill & Lowe (3rd
   edn, 1999) 66–7; Tanaka (2nd edn, 2015) 157–160; Baterman in Warner & Kaye (2016) 45–
   7.
   82
      Further: UNCLOS, 10 December 1982, 1833 UNTS 3, Arts 91–94; UN Convention on the
   Conditions of Registration of Ships, 7 February 1986, 26 ILM 1229; M/V Saiga (No 2)
   (1999) 120 ILR 143; Baterman in Warner & Kaye (2016) 43–53.
   83
      Molenaar (1998) 187; Churchill & Lowe (3rd edn, 1999) 68; Rothwell & Stephens, The
   International Law of the Sea (2010) 56. No general right of port access exists under
   customary international law: Rayfuse in Warner & Kaye (2016) 73.
   84
      US v Flores, 289 US 137 (1933); Re Bianchi (1957) 24 ILR 173; Rayfuse in Warner &
   Kaye (2016) 72.
   85
        2 Gidel (1932) 204, 246; Churchill & Lowe (3rd edn, 1999) 65–6.
   86
        McNair, 2 Opinions 194.
   87
       Churchill & Lowe (3rd edn, 1999) 66–7; Bardin (2002) 14 Pace ILR 27, 31. For a US
   perspective on crimes at the sea, see Roach in Franckx & Gautier (eds), The Exercise of
   Jurisdiction over Vessels (2011) 151; for a European perspective, see Anderson in Franckx
   & Gautier (2011) 171. Also Shearer in Rothwell (ed), Law of the Sea (2013) 320, 327.
   88
       Agreement for the Implementation of the Provisions of the United Nations Convention
   on the Law of the Sea of 10 December 1982 relating to the Conservation and Management
   of Straddling Fish Stocks and Highly Migratory Fish Stocks, 4 August 1995, 2167 UNTS 3.
   89
        2 November 2001, 2562 UNTS 3 (58 parties). Further: Rau (2006) 6 MPUNYB 387.
   90
        R v Martin [1956] 2 QB 272, 285–6 (Devlin J); R v Naylor [1962] 2 QB 527.
   91
        14 September 1963, 704 UNTS 219.
   92
      Convention for the Suppression of Unlawful Seizure of Aircraft, 16 December 1970, 860
   UNTS 105; Convention for the Suppression of Unlawful Acts Against the Safety of Civil
   Aviation, 23 September 1971, 974 UNTS 178; Convention on the Suppression of Unlawful
   Acts Relating to International Civil Aviation, 10 September 2010, International Civil
   Aviation Organization (ICAO) Doc 9960 (not yet in force).
   93
      Harvard Research (1935) 29 AJIL Supp 439, 563; Bowett (1982) 53 BY 1, 11–14; Higgins
   (1994) 56–65; The Princeton Principles on Universal Jurisdiction (2001); Reydams,
   Universal Jurisdiction (2003); Ryngaert (2nd edn, 2015) 120–42. Further: Langer (2011)
   105 AJIL 1; Nyst (2012) 8 JIL & Int Rel 36, 39–43; Schabas (2013) 26 LJIL 667, 687–93;
   Bassiouni (6th edn, 2014) 425–73; Lett (2015) 23 Mich St ILR 545; Kapelańska-Pręgowska

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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 24 of 32

   (2015) 17 Int Comm LR 413, 425–9; O’Keefe, International Criminal Law (2015) 371–5;
   Trouille (2016) 14 JICJ 195; Mennecke in Jalloh (ed), The International Criminal Court and
   Africa (2017) 10; O’Sullivan, Universal Jurisdiction in International Criminal Law (2017).
   There is a Working Group of the Sixth Committee on the scope and application of universal
   jurisdiction: see GA Res 72/120, 18 December 2017.
   94
      La Pradelle in Ascensio, Decaux, & Pellet (eds), Droit International Pénal (2005) 905;
   Guilfoyle (2016) 37.
   95
         O’Keefe (2004) 2 JICJ 735, 745.
   96
      Baxter (1951) 28 BY 382. Cf Röling (1960) 100 Hague Recueil 323, 357–62. Also Re
   Sharon and Yaron (2003) 127 ILR 110; Javor (1996) 127 ILR 126; Munyeshyaka (1998) 127
   ILR 134.
   97
      Higgins (1994) 58. See also Arrest Warrant, ICJ Reports 2002 p 3, 81 (Judges Higgins,
   Kooijmans, and Buergenthal); R v Bow Street Stipendiary Magistrate, ex p Pinochet Ugarte
   (No 3) [1999] 2 All ER 97, 176 (Lord Millett).
   98
         (1961) 36 ILR 5, 26.
   99
      This can be explained by the fact that no state could exercise territorial jurisdiction: e.g.
   SS Lotus (1927) PCIJ Ser A No 10, 51 (Judge Finlay, diss), 70–1 (Judge Moore, diss), 95
   (Judge Altamira, diss); Arrest Warrant, ICJ Reports 2002 p 3, 37–8, 42 (President
   Guillaume), 55–6 (Judge Ranjeva), 78–9, 81 (Judges Higgins, Kooijmans, and Buergenthal).
   On piracy: UNCLOS, Art 105, and chapter 13; Hodgkinson in Scharf, Newton, & Sterio
   (eds), Prosecuting Maritime Piracy (2015). Also: US v Shibin, 722 F3d 233 (4th Cir, 2013).
   100
        E.g. SS Lotus (1927) PCIJ Ser A No 10, 95 (Judge Altamira, diss); Arrest Warrant, ICJ
   Reports 2002 p 3, 61–2 (Judge Koroma); Trouille (2016) 14 JICJ 195; van der Wilt (2016) 14
   JICJ 269.
   101
        Ryngaert (2nd edn, 2015) 127–8; US v Bellaizac-Hurtado, 700 F3d 1245, 1253–4 (11th
   Cir, 2012) (holding enforcement of an anti-drug trafficking law unconstitutional as applied
   to conduct in the territorial waters of another country, drug trafficking being ‘not a violation
   of customary international law’). But see US v Macias, 654 Fed Appx 458 (11th Cir, 2016),
   (holding that the prosecution for drug-trafficking crimes committed on board a stateless
   vessel in international waters is a constitutional exercise of extraterritorial jurisdiction).
   102
        Jorgic v Germany [2007] ECtHR 74613/01, [69]. Institut de Droit International,
   Seventeenth Commission, Universal Jurisdiction Over Genocide, Crimes Against Humanity
   and War Crimes (2005) 2. Generally: Kreß (2006) 4 JICJ 561; Reydams (2003) 1 JICJ 428; cf
   Reydams (2003) 1 JICJ 679; Ryngaert (2007) Hague JJ 85. This has become the position
   despite the fact that the Genocide Convention, 9 December 1948, 78 UNTS 277, Art VI
   reserves universal jurisdiction in the case of genocide for an international court: cf In re
   Koch (1966) 30 ILR 496; Jorgic v Germany [1997] ECtHR 74613/01 (alternative
   interpretation of Genocide Convention, Art VI, which permits universal jurisdiction for
   states); Schabas (2003) 1 JICJ 39.
   103
      Higgins (1994) 61; Van Elst (2000) 13 LJIL 815; Ryngaert (2007) Hague JJ 85; Carrillo
   & Nelson (2013–14) 46 G Wash ILR 481.
   104
        R v Bow Street Metropolitan Stipendiary Magistrate, ex p Pinochet Ugarte (No 3)
   [2000] 1 AC 147, 275 (Lord Millett); Furundžija (2002) 121 ILR 213, 262. Cf Jones v Saudi
   Arabia [2006] UKHL 26, [34] (rejecting the existence of universal tort jurisdiction over
   torture).




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 25 of 32

   105
       Resolution ICC-ASP/16/Res.5, 14 December 2017; ICC Statute, 17 July 1998, 2187
   UNTS 3, Arts 8bis, 15bis, 15ter, inserted by Resolution RC/Res.6 of 11 June 2010. See also
   Kreß & Barriga, The Crime of Aggression: A Commentary (2017).
   106
         Ryngaert (2nd edn, 2015) 127.
   107
         E.g. in Spain: Moltó (2015) 13 JICJ 1121, 1122–31.
   108
       Generally: Winants (2003) 16 LJIL 491; Rabinovitch (2004) 28 Fordham ILJ 500.
   O’Keefe (2004) 2 JICJ 735; Goldmann, ‘Arrest Warrant Case (Democratic Republic of Congo
   v Belgium)’ (2009) MPEPIL.
   109
         Cf also the dissenting opinion of Judge Oda: ICJ Reports 2002 p 3, 51.
   110
       President Guillaume took a conservative stance on universal jurisdiction holding that
   under customary international law it only applied with respect to piracy and within the
   confines of certain sui generis treaty regimes: ibid, 37–8.
   111
         Ibid, 94.
   112
         Ibid, 55–7 (Judge Ranjeva), 121–6 (Judge ad hoc Bula-Bula).
   113
        Reydams (2003) 55, 74, 88–9, 156, 177, 222, 224, 226–7. For comment on universal
   jurisdiction in absentia: Colangelo (2005) 36 Geo JIL 537; Poels (2005) 23 NQHR 65;
   Ryngaert (2nd edn, 2015) 133–5.
   114
         O’Keefe (2004) 2 JICJ 735, 750.
   115
       Ibid, 750–1; O’Keefe (2015) 573–5; Guilfoyle (2016) 40. Cf Ryngaert (2nd edn, 2015)
   123–5.
   116
       Generally: Reydams (2003) ch 3; Scharf, ‘Aut dedere aut iudicare’ (2008) MPEPIL;
   Guilfoyle (2016) 44–52.
   117
        The concept again comes from Grotius, who found the notion of a fugitive arriving on
   the territory of a state and there remaining to enjoy the fruits of his iniquity offensive:
   Grotius, De iure belli ac pacis (1625, Tuck 2005) II.xxi, §4.1. The position was later reversed
   by Enlightenment philosophers who sought to restrict the prescriptive jurisdiction of states
   to territorial concerns alone: e.g, Beccaria, Traité des délits et des peines (1764) §21.
   Further: Arrest Warrant, ICJ Reports 2002 p 3, 36–40 (President Guillaume).
   118
      In the modern era, the concept first appeared in the International Convention for the
   Suppression of Counterfeiting Currency, 20 April 1929, 112 LNTS 371, Art 9.
   119
         16 December 1970, 860 UNTS 105, Art 4(1).
   120
       E.g. Geneva Convention Relative to the Treatment of Prisoners of War, 75 UNTS 135,
   Art 129.
   121
       Generally: Saul, Defining Terrorism in International Law (2006); Schmid (2012) 6
   Perspectives on Terrorism 158; Easson & Schmid in Schmid (ed), Routledge Handbook of
   Terrorism Research (2011) 99–157; Cohen (2013) 20 Mich St ILR 219, 229–33; O’Keefe
   (2015) 160, 266–74; Brennan in McCorquodale & Gauci (eds), British Influences on
   International Law (2016) 417–35. Cf Cassese, International Law (3rd edn, 2013) ch 8.
   122
        Higgins (1994) 64 (‘Although these treaties seek to provide wide alternative bases of
   jurisdiction, they are not examples of universal jurisdiction. Universal jurisdiction, properly
   called, allows any state to assert jurisdiction over an offence’).
   123
         Ryngaert (2nd edn, 2015) 124. Also Guilfoyle (2016) 46.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 26 of 32

   124
       E.g. US v Rezaq, 134 F3d 1121 (DC Cir, 1998); US v Wang Kun Lue, 134 F3d 79 (2d Cir,
   1998); US v Lin, 101 F3d 760 (DC Cir, 1996). For commentary on the US position: Scharf
   (2001) 64 LCP 67.
   125
       US v Yunis, 681 F Supp 896, 901 (DDC, 1988) and US v Yunis, 924 F2d 1086 (DCC,
   1991).
   126
       Akehurst (1972–3) 46 BYIL 145, 170; Vagias, The Territorial Jurisdiction of the
   International Criminal Court (2014) 181–2; Kohl in Tsagourias & Buchan (eds), Research
   Handbook on International Law and Cyberspace (2015) 31–3. There are many specialized
   areas, e.g. those relating to conscription and taxation. On the former: Parry (1954) 31 BY
   437; 8 Whiteman 540–72. On the latter: Mann (1964) 111 Hague Recueil 1, 109–19; Martha,
   The Jurisdiction to Tax in International Law (1989).
   127
       Ryngaert (2nd edn, 2015) 32, 82–4, 89–94. Also Ryngaert, Jurisdiction over Antitrust
   Violations in International Law (2008).
   128
       On the relations of public and private international law: Mills, Confluence of Public and
   Private International Law (2009); Boer (2010) 57 NILR 183; Mills (2014) 84 BYIL 187;
   Ryngaert (2nd edn, 2015) 16–22.
   129
       Beale (1922–3) 36 Harv LR 241. For a different view see Akehurst (1972–3) 46 BY 145,
   170–7; and see Derby & Co Ltd v Larsson [1976] 1 WLR 202, noted (1976–7) 48 BY 333,
   352. Also Thai-Europe Tapioca Service v Government of Pakistan [1975] 1 WLR 1485, 1491–
   2 (Lord Denning); Putnam, Courts without Borders (2016) ch 2.
   130
       Russell & Co v Cayzer, Irvine Ltd [1916] 2 AC 298, 302; ANZ Grindlays Bank plc v
   Fattah (1991) 4 WAR 296, 299–300. Further: Dicey, Morris & Collins on the Conflict of Laws
   (15th edn, 2012) 411.
   131
       E.g. Maharanee of Baroda v Wildenstein [1972] 2 QB 283. Sime, A Practical Approach
   to Civil Procedure (17th edn, 2014) 117.
   132
        E.g. Dunlop Ltd v Cudell & Co [1902] 1 KB 342; Cleveland Museum of Art v Capricorn
   International SA [1990] 2 Lloyd’s Rep 166. In civil claims against corporations in US courts,
   a ‘commercial presence’ is no longer sufficient to establish jurisdiction: Daimler AG v
   Bauman, 134 S Ct 746 (2014); Bristol-Myers Squibb Co v Superior Court of California, San
   Francisco County, 137 S Ct 1773 (2017).
   133
         McConville in Scott (ed), Torture as Tort (2001) 160.
   134
       E.g. Spiliada Maritime Corp v Cansulex Ltd [1987] AC 460; Airbus Industrie GIE v Patel
   [1999] 1 AC 119; Lubbe v Cape plc [2000] 1 WLR 1545. Generally: Sime (17th edn, 2014)
   124–5; Fentiman, International Commercial Litigation (2nd edn, 2015) chs 8–9, 12.
   135
        Where the defendant has a territorial connection with England sufficient to allow the
   writ to be served directly, the court may decline jurisdiction on the basis that England is
   forum non conveniens: VTB Capital plc v Nutritek International Corp [2013] 2 AC 337.
   136
       E.g. Ehrenzweig (1956) 65 Yale LJ 289. Relations between common law and civil law
   countries on the service of process have been a source of difficulty: e.g. Decision
   concerning Service of Punitive Damage Claims (1995) 34 ILM 975.
   137
       International Shoe Co v Washington, 326 US 310, 316 (1945). Also World-Wide
   Volkswagen Corp v Woodson, 444 US 286, 297 (1980); Goodyear Dunlop Tyres Operations
   SA v Brown, 564 US 915 (2011).




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 27 of 32

   138
       134 S Ct 746, 761 (2014) (uprooting the corporate presence doctrine). For comment: Ji
   (2015) 23 Mich St ILR 397; Cavanagh (2016) 68 Maine LR 287. See also Gucci America Inc
   v Weixing Li, 768 F3d 122 (2d Cir, 2017).
   139
        [2001] OJ L12/1, an elaboration on the Convention on Jurisdiction and the Enforcement
   of Judgments in Civil and Commercial Matters, Brussels, 27 September 1968, 1262 UNTS
   153 As an EU member, the UK is bound by the Brussels I Regulation. To the extent that the
   Regulation does not apply, the common law rules of jurisdiction will have residual effect:
   Brussels I Regulation, Art 4. Also of note is EC Regulation 593/2008 on the law applicable to
   contractual relations [2008] OJ L177/6 (Rome I Regulation). Generally: Briggs, Civil
   Jurisdiction and Judgments (6th edn, 2015) ch 2; van Calster, European Private
   International Law (2nd edn, 2016) ch 2.
   140
        The Brussels I Regulation permits certain exceptions to this principle based on
   questions of subject matter and the relationship between the parties: e.g. Arts 5(1) (matters
   relating to a contract), 5(3) (matters relating to a tort or delict), 5(5) (matters relating to a
   dispute arising from the activities of a branch, agent, or other establishment); 22 (exclusive
   jurisdiction), 23 (jurisdiction agreements), and 27 and 28 (lis pendens and related actions).
   141
         Further: Kaeb & Scheffer (2013) 107 AJIL 852, 854–5; Fentiman (2nd edn, 2015) ch 9.
   142
         Cf Brussels I Regulation, Art 28.
   143
       E.g. because the court second seised is the beneficiary of an exclusive jurisdiction
   agreement between the parties (Art 23) or the subject matter of the dispute is something
   within the exclusive jurisdiction of the court second seised (Art 22).
   144
       Case C-281/02 Owusu v Jackson [2005] ECR I-1383 (ECJ). Also Case C-159/02 Turner v
   Grovit [2005] ECR I-3565 (ECJ); Case C-116/02 Erich Gasser GmbH v MISAT srl [2003] ECR
   I-14693 (ECJ); Case C-185/07, Allianz SpA v West Tankers Inc [2009] ECR I-663; Ferrexpo
   AG v Gilson Investment Ltd [2012] EWHC 721 (Comm). Further: Rodger (2006) 2 JPIL 71;
   De Verneuil Smith, Lasserson, & Rymkiewicz (2012) 8 JPIL 389.
   145
       Mills, The Confluence of Public and Private International Law (2009); Ryngaert (2nd
   edn, 2015) ch 1.
   146
         Mills (2009) 298.
   147
      E.g. Timberlane Lumber Co v Bank of America, 549 F2d 597 (9th Cir, 1976); Asahi
   Metal Industry Co v Superior Court of California, 480 US 102 (1987);
   cf Hartford Fire Ins Co v California, 509 US 764 (1993). Further: Oakley & Amar, American
   Civil Procedure (2009) 116; Grossi, The US Supreme Court and the Modern Common Law
   Approach (2015) 144, 166–8, 171.
   148
        Steinhardt & D’Amato (eds), The Alien Tort Claims Act (1999); Paust (2004) 16 Florida
   JIL 249; Ku (2013) 107 AJIL 835–7; Ryngaert (2nd edn, 2015) 135–42; Seibert-Fohr, ‘United
   States Alien Tort Statute’ (2015) MPEPIL.
   149
         Reydams (2008) 126–7; Cassese (3rd edn, 2013) 278–81.
   150
       28 USC §1350. After the ‘rediscovery’ of the Alien Tort Claims Act, the Torture Victims
   Protection Act of 1991 was passed: it provides a cause of action for any victim of torture or
   extrajudicial killing wherever committed: 106 Stat 73.
   151
        These are the offences against the law of nations described by Blackstone as addressed
   by the criminal law of England. See Sosa v Alvarez-Machain, 542 US 692, 725 (2004). The
   origins of the original statute are obscure: Paust (2004) 16 Florida JIL 249; Seibert-Fohr,
   ‘United States Alien Tort Statute’ (2015) MPEPIL.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 28 of 32

   152
         630 F2d 876, 881 (2d Cir, 1980).
   153
        There is no nationality requirement imposed on the defendant by the ATS; accordingly,
   US companies were named as defendants in many cases, converting ATS into a corporate
   social responsibility tool: e.g. Doe 1 v Unocal, 395 F3d 932 (9th Cir, 2002). But corporations
   that have a ‘mere corporate presence’ in the US have been held not to fall within the Act:
   Kiobel v Royal Dutch Petroleum Co, 569 US 108 (2013), and the Supreme Court has held
   that foreign corporations may not be defendants in ATS cases: Jesner v Arab Bank Plc, 584
   US __ (2018). The scope of the ATS is thus further reduced.
   154
         Ryngaert (2nd edn, 2015) 71, 106.
   155
         542 US 692, 749 (2004).
   156
         Ryngaert (2003) 38 NYIL 3, 35–8.
   157
       E.g. Arrest Warrant, ICJ Reports 2002 p 3, 77 (Judges Higgins, Kooijmans, and
   Buergenthal) (‘[w]hile this unilateral exercise of the function of guardian of international
   values has been much commented on, it has not attracted the approbation of States
   generally’). Cf Ramsay (2009) 50 Harv ILJ 271.
   158
         Ryngaert (2nd edn, 2015) 137; Kaeb & Scheffer (2013) 107 AJIL 852.
   159
        Kiobel v Royal Dutch Petroleum Co, 569 US 108, 14 (2013) (Chief Justice Roberts,
   joined by Justices Scalia, Alito, Thomas, and Kennedy).
   160
       See Mujica v AirScan Inc, 771 F3d 580, 594 (9th Cir, 2014) (stating that ‘Kiobel (quite
   purposely) did not enumerate the specific kinds of connections to the United States that
   could establish that ATS claims “touch and concern” this country’).
   161
         Stephens (2013) 28 Md JIL 256; Chander (2013) 107 AJIL 829; Ku (2013) 107 AJIL 835.
   162
         RJR Nabisco, Inc v European Community, 136 S Ct 2090, 2100–1 (2016).
   163
       But the presumption was not overcome regarding the private right of action, for which
   domestic injury must be alleged and proved. See RJR Nabisco, Inc v European Community,
   136 S Ct 2090, 2105–11 (2016).
   164
        Ireland-Piper (2013) 9(4) Utrecht LR 68, 73; Currie & Coughlan (2007) 11 Can Crim LR
   141, 148. E.g. Janković, Decision on Art 11bis referral (ICTY Appeals Chamber, Case No
   IT-96–23/2-AR11bis.2, 15 November 2005), para 34.
   165
       E.g. Eichmann (1962) 36 ILR 277, 302; Arrest Warrant, ICJ Reports 2002 p 3, 80
   (Judges Higgins, Kooijmans, and Buergenthal) (arguing that universal jurisdiction can only
   be exercised once the territorial state has declined to take action).
   166
         Further: Ryngaert (2nd edn, 2015) ch 5.
   167
       Mann (1964) 111 Hague Recueil 9, 43–51, 82–126; Ryngaert (2nd edn, 2015) 156–7.
   For the Canadian approach, requiring ‘a real and substantial link’: Queen v Klassen 2008
   BCSC 1762; ILDC 941; Club Resorts Ltd v Van Breda [2012] 1 SCR 572, and see Monestier
   (2013) 36 Fordham ILJ 396.
   168
       Ryngaert (2nd edn, 2015) ch 2; Kamminga, ‘Extraterritoriality’ (2012) MPEPIL; Piraino
   (2012) 40 Hofstra LR 1099.
   169
         Donovan & Roberts (2006) 100 AJIL 142, 142; Mills (2014) 84 BY 187, 202.
   170
       E.g. Protection of Trading Interests Act 1980 (UK) (which has, however, been little
   used). Also EC Regulation 2271/96, enacted in response to the Helms–Burton and D’Amato–
   Kennedy Acts. On restricting the reach of state jurisdictions over online data: Woods (2016)
   68 Stanford LR 729, 779–80. On blocking investigations under the US Foreign Corrupt




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 29 of 32

   Practices Act: Liakopoulos & Marsilia, The Regulation of Transnational Mergers in
   International and European Law (2009) 17; Robert-Ritter (2012) 8 IL & Man R 89.
   171
       Mann (1964) 13 ICLQ 1460; Jennings (1957) 33 BY 146; 6 Whiteman 118–83; Akehurst
   (1972–3) 46 BY 145, 179–212 Meessen (ed), Extra-Territorial Jurisdiction in Theory and
   Practice (1996); Milanovic, Extraterritorial Application of Human Rights Treaties (2011) 23–
   6; Colangelo (2014) 99 Cornell LR 1303; Ryngaert (2nd edn, 2015) 31; Schabas (ed), The
   Cambridge Companion to International Criminal Law (2016) 161, 218, 220–6.
   172
         (1927) PCIJ Ser A No 10, 18–19.
   173
       E.g. Armed Activities on the Territory of the Congo (DRC v Uganda), ICJ Reports 2005 p
   168, 196–9; R v Hape [2007] 2 SCR 292. Further: Stigall (2013) 3 Notre Dame JICL 1, 9.
   174
         SS Lotus (1927) PCIJ Ser A No 10, 18.
   175
        E.g. Agreement between the Parties to the North Atlantic Treaty regarding the Status
   of their Forces, 19 June 1951, 199 UNTS 67, Art VII; Agreement between the Democratic
   Republic of East Timor and the United Nations concerning the Status of the United Nations
   Mission of Support in East Timor, 20 May 2002, 2185 UNTS 368, Arts 43–44. Further:
   chapter 22.
   176
         US v Aluminum Co of America, 148 F2d 416 (2d Cir, 1945).
   177
       US v Watchmakers of Switzerland Information Center Inc, 133 F Supp 40 (SDNY,
   1955); 134 F Supp 710 (SDNY, 1955).
   178
       Intention was not a prominent requirement in US v ICI, 100 F Supp 504 (SDNY, 1951);
   105 F Supp 215 (SDNY, 1952), and in many circumstances it can be inferred.
   179
        Timberlane Lumber Co v Bank of America, 549 F2d 597 (9th Cir, 1976); Mannington
   Mills Inc v Congoleum Corp, 595 F2d 1287 (3d Cir, 1979). The ‘balancing’ approach was
   criticized in Laker Airways Ltd v Sabena, 731 F2d 909 (DC Cir, 1984). Hartford Fire
   Insurance v California, 509 US 764 (1993) ignored almost all the balancing factors and held
   that US courts should exercise jurisdiction where there is a substantial effect within the US
   and there is no conflict, i.e. no foreign law requires that a party act or not act in a certain
   manner contrary to US laws. Further: Ryngaert (2nd edn, 2015) 155–6; Duns, Duke, &
   Sweeney (eds), Comparative Competition Law (2015) 356–60.
   180
         Barcelona Traction, Second Phase, ICJ Reports 1970 p 3, 103–6 (Judge Fitzmaurice).
   181
       Hoffman-La Roche Ltd v Empagran SA, 542 US 155 (2004). See also Restatement Third
   §403(1) and (2); draft Restatement Fourth (2017) §101.
   182
         BPIL (1964) 146, 153.
   183
       (1957) 33 BY 146, 151. Also British Nylon Spinners Ltd v ICI Ltd [1952] 2 All ER 780;
   [1954] 3 All ER 88; Kahn-Freund (1955) 18 MLR 65.
   184
       Carron Iron Co v Maclaren (1855) 5 HLC 416, 442 (Lord Cranworth); The Tropaioforos
   [1962] 1 Lloyd’s Rep 410.
   185
         Convention implementing the Schengen Agreement of 14 June 1985 [2000] OJ L239/19.
   186
       [2001] OJ C 197/1. Also: Convention on the Establishment of a European Police Office
   [1995] OJ C 316/2. Further: McClean (2002) 167–8, 224–37.
   187
       The UN has sponsored a series of treaties designed to secure greater cooperation in
   criminal matters: UN Model Treaty on Mutual Assistance in Criminal Matters, 14 December
   1990, A/RES/45/117, amended by A/RES/53/112, 20 January 1999; Model Treaty on the
   Transfer of Proceedings in Criminal Matters, 14 December 1990, A/RES/45/118; UN
   Convention Against Transnational Organized Crime, 15 November 2000, A/RES/55/25




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 30 of 32

   (Annex I). Further: Certain Questions of Mutual Assistance in Criminal Matters (Djibouti v
   France), ICJ Reports 2008 p 117.
   188
       UK–Netherlands, Agreement concerning a Scottish trial in the Netherlands, 18
   September 1998, 2062 UNTS 81. This approach was approved in SC Res 1192 (1998).
   Further: Aust (2000) 49 ICLQ 278; Plachta (2001) 12 EJIL 125. Also: UK–New Zealand,
   Agreement concerning trials under Pitcairn law in New Zealand, 11 October 2002, 2219
   UNTS 57; Pitcairn Trials Act 2002 (NZ); R v Seven Named Accused (2004) 127 ILR 232;
   Christian v R [2007] 2 WLR 120.
   189
       E.g. Wisconsin v Pelican Insurance Co, 127 US 265 (1887); Huntington v Attrill [1893]
   AC 150; US v Inkley [1989] QB 255 (CA). Further: Zeynalova (2013) 31 Berkeley JIL 150,
   163–8.
   190
         28 May 1970, ETS No 70.
   191
       Generally: Nicholls & Montgomery, The Law of Extradition and Mutual Assistance (2nd
   edn, 2007); Stein, ‘Extradition’ (2011) MPEPIL. On reciprocity as a basis for extradition:
   Rezek (1981) 52 BY 171; Duffy, The ‘War on Terror’ and the Framework of International
   Law (2nd edn, 2015) 162–5.
   192
         E.g. UK–USA, Extradition Treaty, 31 March 2003, Cm 5821.
   193
       13 December 1957, 359 UNTS 273. Also: Additional Protocol to the European
   Convention on Extradition, 15 October 1975, CETS No 86; Second Additional Protocol to
   the European Convention on Extradition, 17 March 1978, CETS No 98.
   194
       Cf EC Framework Decision of 13 June 2002 on the European arrest warrant and
   surrender procedures between member states [2002] OJ L190/1; and see Assange v
   Swedish Prosecution Authority [2012] UKSC 22. But cf Assange (Sweden and the UK)
   (2015) 175 ILR 475 (UN Working Group on Arbitrary Detention).
   195
      A/RES/45/116, 14 December 1990. The UNMTE has been supplemented by a UN Model
   Law on Extradition: 10 May 2004, E/EN.15/2004/CRP.10.
   196
         E.g. UNMTE, Art 2. Older treaties phrased this requirement in terms of an exhaustive
   list of offences for which extradition could be requested: ECE, Art 2, but cf Art 2(4). The
   EAW does away with this entirely with respect to certain serious offences, including those
   deemed to be crimes under the ICC Statute: EAW, Art 2(2).
   197
       E.g. UNMTE, Art 3(a), ECE, Art 3. Also the European Convention on Extradition, 13
   December 1957, 359 UNTS 273, Art 3, supplemented by Additional Protocol, 15 October
   1975, 1161 UNTS 450, Art 1. On the non-refoulement principle and the prosecution of
   crimes committed extraterritorially: Gilbert & Rüsch (2014) 12 JICJ 1093.
   198
         E.g. UNMTE, Art 14, ECE, Art 14.
   199
        E.g. UNMTE, Art 3(f). Additionally, the European Court of Human Rights (ECtHR) has
   held that parties could not knowingly extradite an individual where that individual would be
   in danger of torture: Soering v UK (1989) 98 ILR 270. Cf Netherlands v Short (1990) 29
   ILM 1375; Ng v Canada (1993) 98 ILR 497; Aylor (1993) 100 ILR 664; US v Burns (2001)
   124 ILR 298; Mamatkulov v Turkey (2005) 134 ILR 230; Ahmad v UK [2012] ECtHR
   24027/07, [166]–[179]. This rule has been applied in other jurisdictions: e.g. Lamas Puccio v
   Peru, ILDC 1886 (2011); Minister of Home Affairs v Tsebe, 2012 (5) SA 467. Further:
   Beltrán de Felipe & Nieto Martín (2012) 10 JICJ 581; Stover (2014) 45 Col HRLR 325. See
   also Southern African Development Community, Protocol on Extradition (2006), Art 5(j).
   200
         E.g. UNMTE, Art 3(d), ECE, Art 11.




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 31 of 32

   201
       Cf Eichmann (1962) 36 ILR 5. There, the accused was abducted from Argentina,
   drugged, and dressed as a flight attendant for rendition to Israel. Further: Fawcett (1962)
   38 BY 181; Schabas (2013) 26 LJIL 667. The US courts recognize as a general rule that law
   enforcement officers of one country can exercise powers in another country only with the
   permission of the latter. See Société Nationale Industrielle Aerospatiale v US DC for
   Southern District of Iowa, 482 US 522 (1987); Williams v Wisconsin, 336 F3d 576 (7th Cir,
   2003).
   202
       Including human rights standards: Öcalan v Turkey [2005] ECtHR 46221/99 (irregular
   rendition not automatically contrary to ECHR Art 5(1)).
   203
       Further: Parry (2005) 6 Melb JIL 516; Weissbrodt & Bergquist (2006) 19 Harv HRJ 123;
   Sands in Roberts (ed), Mélanges Salmon (2007) 1074; Messineo (2009) 7 JICJ 1023; Jensen
   & Jenks (2010) 1 Harv NSJ 171; McDermott (2014) 1 J Use of Force & IL 299.
   204
        US v Alvarez-Machain, 504 US 655 (1992). But cf R v Horseferry Road Magistrates’
   Court, ex p Bennett [1994] 1 AC 42; S v Ebrahim (1991) 95 ILR 417. Traditionally European
   jurisdictions would ordinarily accept jurisdiction in exorbitant circumstances, but this has
   changed with the ECtHR: Re Argoud (1964) 45 ILR 90; cf Stockë v Germany (1991) 95 ILR
   350. Also: Prosecutor v Nikolić, Legality of Arrest, ICTY, IT-94-2-AR73, 5 June 2003, paras
   23, 55–7. Further: Schabas (2013) 3 LJIL 667, 687–93.
   205
       As of 10 January 2015, the (recast) Brussels I Regulation applies: Regulation (EU) No
   1215/2012. Further: Beaumont & Walker (2015) 11 JPIL 31.
   206
       Brussels I Regulation (recast), Art 45. In the US: Stephan (ed), Foreign Court
   Judgments and the United States Legal System (2014).
   207
       Mareva Compania Naviera SA v International Bulkcarriers SA [1975] 2 Lloyd’s Rep
   509; and cf generally: Fentiman (2nd edn, 2015) ch 17.
   208
         Ashtiani v Kashi [1987] QB 888.
   209
       E.g. Babanaft International Co v Bassatne [1990] Ch 13; Derby & Co Ltd v Weldon
   [1990] Ch 48 (CA).
   210
       E.g. Credit Suisse Fides Trust SA v Cuoghi [1998] QB 818; Republic of Haiti v Duvalier
   [1990] 1 QB 202; Refco v Eastern Trading Co [1999] 1 Lloyd’s Rep 159 (CA); Ryan v
   Friction Dynamics [2001] CP Rep 75; Motorola Credit Corp v Uzan [2004] 1 WLR 113.
   211
       Castanho v Brown & Root [1981] AC 557, 573; Airbus Industrie GIE v Patel [1999] 1 AC
   119, 133; Amchem Products Inc v British Columbia Workers Compensation Board (1993)
   102 DLR (4th) 96, 119; Turner v Grovit [2002] 1 WLR 107. Generally: Fentiman (2nd edn,
   2015) 532–40; Chan (2016) 79 MLR 341.
   212
       Masri v Consolidated Contractors International (UK) Ltd (No 3) [2009] QB 503, 533.
   This also includes cases where the foreign claimant is prevented from re-litigating previous
   proceedings: e.g. Royal Bank of Scotland plc v Hicks & Gillette [2010] EWHC 2579 (Ch).
   213
        E.g. Midland Bank plc v Laker Airways Ltd [1986] QB 689; cf Siskina (Owners of cargo
   lately laden on board) v Distos Compania Naviera SA [1979] AC 210.
   214
        Notably where the parties have concluded an exclusive jurisdiction agreement in favour
   of the injuncting court: e.g. Donohue v Armco Ltd [2002] 1 Lloyd’s Rep 425.
   215
       Jääskinen & Sikora in Cremona, Thies, & Wessel (eds), The European Union and
   International Dispute Settlement (2017) 101–11.
   216
       As was the case in Société Nationale Industrielle Aérospatiale v Lee Kui Jak [1987] AC
   871 (PC).




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Case 1:21-cv-11269-FDS Document 124-1 Filed 02/03/22 Page 32 of 32

   217
       Generally: Maier (1982) 76 AJIL 280; Paul (1991) 32 Harv JIL 1; Collins in Fawcett (ed),
   Reform and Development of Private International Law (2002) 89; Chan (2016) 79 MLR 341.
   218
         [1990] 3 SCR 1077, 1096.
   219
         159 US 113, 164 (1895).
   220
       E.g. in relation to anti-suit injunctions, Turner v Grovit [2002] 1 WLR 107, [28] (Lord
   Hobhouse); Sanofi-Aventis Deutschland GmbH v Genentech Inc, 716 F3d 586, 591 (2013);
   Nike Inc v Cardarelli, 2015 WL 853008 (D Or, 2015). Further: Sim (2013) 62 ICLQ 703;
   Fentiman (2nd edn, 2015) ch 16. In relation to freezing injunctions: Credit Suisse Fides
   Trust SA v Cuoghi [1998] QB 818; Refco v Eastern Trading Co [1999] 1 Lloyd’s Rep 159. On
   comity generally: Dodge (2015) 115 Col LR 2071.
   221
       E.g. Turner v Grovit [2005] ECR I-3565; Erich Gasser GmbH v MISAT srl [2003] ECR
   I-14693; Allianz SpA v West Tankers Inc [2009] ECR I-663.
   222
       E.g. Buck v Attorney-General [1965] Ch 745, 770–2 (Diplock LJ); Lauritzen v Larsen,
   345 US 571, 584–6 (1953); Rio Tinto Zinc Corp v Westinghouse [1978] AC 547, 607 (Lord
   Wilberforce), 618 (Lord Dilhorne); R v Hape [2007] 2 SCR 292, paras 45–6, 57, 65, 68. Cf
   Aérospatiale v District Court, 482 US 522, 554–61 (1987) (Blackmun J, diss).




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